Case 2:19-CV-01362-.]HS Document 1 Filed 04/01/19 Page 1 01 111

JS 44 (Rev. 06/17)

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CIVIL COVER SHEET

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1. (a) PLAINTIFFS

DEREK JAN|ES GRAHA|V|

SCOTT KE|TH NEWELL
(b) County of Residence of First Listed Plaintiff

(EXCEFT[N U.S. PLAINTIFF CASES)

(C) Atfomeys (Fz'rm Name, Add)'ess, and Te]eplzone Numbe))
Leno P. Thomas, Esq.

So|omon, Bersch|er, 317 Swede St. Norristown, PA 19401

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DEFENDANTS

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VALLEY FORGE lVllLlTARY ACADENIY & COLLEGE;
VALLEY FORGE lVllLlTARY ACADEIV|Y FOUNDATON, ET AL
County of Residence of First Listed Defendant

(IN U.S. PLA!NT[FF CASES ONLY)

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THE TRACT OF LAND INVOLVED.

_DELAWABE___

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. Fiando|ph, Esq.

RILEY, RIPER, HOLLIN & COLAGRECO

717 Constitution Dr. Suite 201, Exton, PA 19341 610~458~4400

 

II. BASIS OF JURISDICTION (Place an "X" in Oneon 0nly)

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Plaintiff`

13 2 U.S. Govemment
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(ForDiversily Cases Only)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One BoxfarPIain!i

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VI. CAUSE OF ACTION

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IN THE UNITED STATED DISTRICT CGURT
EASTERN DISTRICT _OF PENNSYLVANIA

DEREK JAMES GRAHAM as parent and
natural guardian of M.G., a minor
46 Cheney Avenue, Peterborough, NeW
Harnpshire 0345 8
And
SCOTT KEITH NEWELL as parent and l
natural guardian of A.N., a minor
16 Barberry Lane, Columbia, South Carolina
29212

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VALLEY FORGE MILITARY ACADEMY

AND COLLEGE

1001 Eagle Road, Wayne, Pennsylvania 19087
And

VALLEY FORGE MILITARY ACADEMY

FOUNDATION BOARD 0F TRUSTEES

1001 Eagle Road, Wayne, Pennsylvania 19087
And

JOHN ENGLISH in his capacity as

CHAIRMAN OF THE VALLEY FORGE

MILITARY ACADEMY FOUNDATION

BOARD OF TRUSTEES

1001 Eagle Road, Wayne, Pennsylvania 19087

Defendants.

 

 

 

 

COMPLAINT FOR INJUNCTIYE RELIEF
AND DAMAGES

Plaintiffs, Derek J ames Graham and Scott Keith NeWell, individually and on behalf of
their minor children (oollectively, the “Plaintiffs”), by and through their undersigned counsel,
hereby asserts the following Cornplaint against Defendants Valley Forge Military Academy

and College (“VFMAC”), Valley Forge Military Academy Foundation Board of Trustees

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(“Foundation Board”), and John English in his capacity as Chairman of the Valley Forge
Military Academy and College Board of Trustees (“John English”) (collectively,
“Defendants”) seeking injunctive relief and monetary damages.

PRELIMINARY STATEMENT

 

l. This is an action that centers on the stability of VFMAC, the fiduciary duty of
the Foundation Board to the Plaintiffs, and the product/education that Plaintiffs as parents of
cadets matriculating at VFMAC are receiving in exchange for the substantial tuition moneys
paid (in excess of $45,000 per year per student). Plaintiffs bring this action against VFMAC,
The Foundation Board, and John English to cease their illicit conduct and bad faith
dealings and to preclude Defendants’ from unlawfully making decisions in violation of the
Valley Forge Military Academy Foundatiori Bylaws that are harmful to the school as Well

as to the students, parents, and alumni of the school.

2. Defendants’ perpetuated numerous dealings that upon information and belief
Were self serving and in bad faith With regards to VFMAC. One of these actions was the
sudden and illegal removal of Maj or General Walt Lord by John English Without the vote
Of the entire Foundation Board, Which is a specific power reserved for the entire
Foundation Board. Further, a Comprehensive Assessment for Valley Forge Military Academy
and College, concluded and written in December of 2018 by the Healey Education Foundation,
showed that VFMAC was in dire need of help. “Valley Forge Military Academy and College is
a small, independent institution with an endowment of approximately SlO million that is far

short of what is necessary to fund the school in times of scarcity. Tuition, room and board is

 

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approximately $45,000. However there is no strategic vision coming from the board that gives
any indication that they grasp this reality. An independent school and college board has two
major responsibilities: To carefully choose and support the president who is in charge of the
day to day operation of the school (and) to ensure the financial health and sustainability of the
school.” Upon information and belief, the Healey Report was presented to Defendant English
several months ago, but l\/lr. English did not disseminate the report amongst the other Board
members for reasons unknown Pursuant to paragraph 28 of the Foundation Bylaws, one of the
duties of the Chairman of the Board is to report to the Board all matters within the Chairman’s
knowledge which the interests of the Foundation may require to be brought to their notice.

JURISDICTION AND
VENUE

3. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332.
This is an action between citizens of different states ~ Plaintiffs are citizens of New
Hampshire and South Carolina, respectively; Plaintiffs seek actual, compensatory and
punitive damages With a present monetary value, exclusive of costs and interest, Well in
excess of $75,000; and there exists complete diversity of citizenship

4. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a
substantial part of the events or omissions giving rise to this action and upon Which the
allegations in the Coniplaint are based occurred Within this District.

PARTIES

5. Plaintiff Derek Graham is the parent of l\/I.G., a cadet currently em‘olled at

Valley Forge Military Academy and College.

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6. Plaintiff Derek Graham and M.G. are citizens of New Hampshire with an
address of 46 Cheney Avenue, Peterborough, New Hampshire, 03458.

7. Plaintiff Scott Newell is the parent of A.N., a cadet currently enrolled at
Valley Forge Military Academy and College.

8. Plaintiff Scott Newell and A.N. are citizens of South Carolina with an
address of 16 Barberry Lane, Columbia, South Carolina, 29212.

9. Defendant Valley Forge Military Academy and College (Hereinafter
“VFMAC”) is an American independent college preparatory boarding school (grades 7-12)
and, as of Fall 2006, coeducational independent junior college and military junior
college located in Wayne, Pennsylvania.

10. Defendant Valley Forge Military Academy Foundation Board of Trustees is
an entity that oversees the long-term strategic planning of VFMAC, approves policies and
procedures, handles budgeting, hires key executive leadership positions, and monitors the
overall performance of the institution.

11. Defendant John English serves as the current Chairman of the Board of
Trustees for Valley Forge Military Academy Foundation, and has held that role Since 2016.

12. Plaintiffs have standing via In Loco Parentis; “When parents place minor
children in private schools for their education, the teachers and administrators of those
schools stand in loco parentis over the children entrusted to them.” Vernonia School Dist.

471 v. Acton, 515 US 646, 654-55 (1995).

 

 

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FACTUAL ALLEGATIONS

13. On March 8, 2019, Maj or General Walter T. Lord suddenly and unexpectedly
resigned of as President of VFMAC, citing dysfunctional governance of VFMAC. A copy of
this letter is attached hereto as Exhibit “A.”

14. Maj or General Lord had served as the President of VFMAC for less than a
year, having started his term in April of 201 8.

15. ln a statement made by John English on behalf of the Board of Trustees on
March 8, 2019, the Board announced that they were “. . .committed to Working with him
(Maj or General Lord) to achieve an orderly transition . . .” A copy of this statement is attached
hereto as Exhibit “B.”

16. Thus, an arrangement was made that Maj or General Lord would stay on as
President of VFMAC until the end of the year, June 30, 2019, as per his resignation letter
issued on March 8, 2019 to the Board.

17. On March 10, 2019, Without having properly called a meeting of the Board of
Trustees, Chairman English emailed a statement to MG Lord terminating his employment
immediately A copy of this letter is attached hereto as Exhibit “C.”

18. On March ll, 2019, the Board of Trustees issued a statement announcing that
Maj or General Lord would be immediately replaced by two individuals currently serving in
upper management roles at VFMAC without the allowance of Maj or General Lord to oversee
the transition as originally promised. A copy of this statement is attached hereto as Exhibit

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19. Upon information and belief, the Board of Trustees did not follow correct
procedure in scheduling any alleged special meeting on March lO, 2019 or on March ll,

2019 where Chairman English alleges in his letter that the Board entered executive session. A
copy of the Foundation Bylaws is attached hereto as Exhibit “E.”

20. Further, according to Foundation Bylaws at paragraph 22, only the Board of
Trustees as a whole has the specific power to appoint, remove, or suspend a President of the
Valley Forge Military and College.

21. Via the March lO, 2019 letter, Chairman English took improper unilateral
action to immediately release MG Lord of his position as President of VFMAC, and upon
review of the Foundation Bylaws, it appears that Chairman English has breached his fiduciary
duty to the Foundation, the Board of Trustees, VFMAC, and to the students, parents, and
alumni of VFMAC.

22. The two individuals appointed to replace Maj or General Lord by Chairman
English were not properly vetted and may be unqualified to serve in the role as President of
VFMAC.

23. Prior to Maj or General Lord’s resignation and subsequent abrupt removal from
office, a Comprehensive Assessment for Valley Forge Military Academy and College,
concluded and written in December of 2018 by the Healey Education Foundation, attached
hereto as Exhibit “F,” offered suggestions to help VFMAC thrive.

24. One of the suggestions the Healey Report made was to cease

micromanagement of the President of VFMAC.

 

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25. In the Healey Report, Governance is identified as an area of VFMAC that
needs vast improvement “The school Will not survive if the Board continues in its present
form and function.”

26. “Valley Forge Military Academy and College is a small, independent
institution with an endowment of approximately $lO million that is far short of What is
necessary to fund the school in times of scarcity. Tuition, room and board is approximately
$45,000. There seems to be, however no strategic vision coming from the board that gives
any indication that they grasp this reality. An independent school and college board has two
maj or responsibilities: To carefully choose and support the president who is in charge of the
day to day operation of the school (and) to ensure the financial health and sustainability of the
school.”

27. Upon information and belief, the Healey Report was presented to Defendant
English in February of 2019, but Mr. English did not disseminate the report amongst the other
Board members for reasons unknown

28. Pursuant to paragraph 28 of the Foundation Bylaws, one of the duties of the
Chairman of the Board is to report to the Board all matters within the Chairman’s knowledge
which the interests of the Foundation may require to be brought to their notice.

29. Upon information and belief, the Board has not complied with disclosures of
conflicts of interest per paragraph 56 of the Bylaws, and the Board has failed to comply with
the Trust Ethics policies found under paragraphs 57 through 60 of the Bylaws.

30. Each student that enrolls as a cadet at VFMAC pays a tuition in excess of

845,000 per year in reliance on VFMAC’s promise that students would be engaged in military

 

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tradition and honor, and that the parents of the cadets Would have full confidence that their
child would receive a quality military style education

31. Because of the Board of Trustees’ recent actions, including the high turnover
of Presidents, multiple prospective students have changed their minds about applying and
enrolling at VFMAC, leading to a downward trend in enrollment and a diminished value of an
education at VFMAC.

32. Due to the recent actions of the Board of Trustees that have caused Widespread
instability campus-wide, there have been recent accounts of student assaults and injuries on
the campus of VFMAC that have alarmed Plaintiffs as well as numerous parents of VFMAC
students and alumni concerned with student safety. See the affidavits of the parents of current
VFMAC students attached hereto as Exhibit “G.”

33. Further, the Alumni of VFMAC have formed a petition, attached hereto as
Exhibit “H,” amassing over 2,5 00 supporters and requesting that the Board of Trustees
increase its transparency over what has transpired and over future operations in order to help
maintain the integrity of VFMAC.

34. ln sum, there have been numerous violations of fiduciary duty committed by
the Board, and specifically Chairman of the Board John English, that warrant this Honorable
Court’s intervention in order to preserve the integrity of Valley Forge Military Academy and
College.

35. Upon information and belief, without the benefit of injunctive relief, the
Defendants are to this day continuing to operate VFMAC, relying upon and

misappropriating tuition funds of the Plaintiffs, placing the school in financial peril, and

 

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creating chaos within the school at the expense of the safety of the students. Absent
immediate injunctive relief, Plaintiffs Will continue to suffer irreparable harm through

Defendants’ actions.

COUNT I »
BREACH OF FIDUCIARY DUTY

 

36. Paragraphs l through 35 are incorporated by reference as if set forth fully therein.

37. At all times the Valley Forge Military Academy Foundation Board and
John English Were agents of VFMAC, which received funding in part by tuition monies
paid by Plaintiffs and other parents of students Who enrolled at VFMAC.

38. As agents of VFMAC, which received funding in part by tuition monies
paid by Plaintiffs and other parents of students who enrolled at VFMAC, the Foundation
Board and John English owed Plaintiffs a fiduciary duty.

39. The Foundation Board and John English, through their actions as Set forth
herein, intentionally and willfully violated their fiduciary duties to Plaintiffs by taking
actions against VFMAC’ s interest while employed by VFMAC and receiving funding in part
by tuitions paid.

40. As a direct and proximate result of The Foundation Board’s and John English’s
acts and omissions, Plaintiffs have suffered Substantial damages and will continue to suffer
substantial damages, absent Court intervention

41. The Foundation Board’s and John English’s actions have been willful and

outrageous and undertaken with reckless indifference to the rights of Plaintiffs.

 

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COUNT II
BREACH OF DUTY OF LOYALTY

42. Paragraphs l through 41 are incorporated by reference as if set forth fully
therein.

43. At all times the Valley Forge Military Academy Foundation Board and
John English were agents of VFMAC, Which received funding in part by tuition monies
paid by Plaintiffs and other parents of students Who enrolled at VFMAC.

44. As agents of VFMAC, which received funding in part by tuition monies
paid by Plaintiffs and other parents of students who enrolled at VFMAC, the Foundation

Board and John English owed Plaintiffs a duty of loyalty.

45. The Foundation Board and John English, through their actions as set forth
herein, through their actions as set forth herein, intentionally and willfully violated
their duties of loyalty to Plaintiffs by taking actions directly and undeniably contrary
to Plaintiffs’ interests.

46. As a direct and proximate result of The Foundation Board’s and John
English’s acts and omissions, Plaintiffs have suffered substantial damages.

47. The Foundation Board’s and John English’s actions have been Willful and
outrageous and undertaken with reckless indifference to the rights of Plaintiffs.

PRAYER FOR
BE_IJE£

WHEREFORE, Plaintiffs request the following relief:
(a) Plaintiffs request that a custodian, Jonathan M. Fishbein, M.D., be placed on the

Foundation Board of Trustees immediately under the provisions of 15 Pa. C.S. 5984 in order

 

 

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to ensure that the Board complies with all fiduciary duties it owes to the Foundation and to
VFMAC as well as makes the vital changes to VFMAC according to the Healey Report in
order to ensure the survival of VFMAC.

(b) Defendants be enjoined, preliminarily until hearing, and thereafter
permanently, from making any decisions on behalf of the Valley Forge Military Academy
Foundation Board without the supervising entity’s approval.

(c) Plaintiffs further request that Maj or Lord be immediately reinstated as VFMAC
President until the end of the year, June 30, 2019, to ensure the smooth and stable transition to
the next President of the Academy as per the original terms of his resignation

(d) Defendants be ordered to immediately place all Foundation funds into an
escrow account return to Plaintiff all Company documents and information, With the
exception of documents and information pertaining to their personal compensation

(e) Defendants be ordered to promptly produce copies of all such documents
requested during the expedited discovery process related to Plaintiffs’ Motion for
Temporary Restraining Order and Motion for Preliminary Injunction.

(f) Defendants be ordered to respond within five days of service of expedited
discovery by Plaintiffs regarding subjects such as Foundation Board minutes and
Foundation Board financial data.

(g) Defendants be enjoined from deleting, destroying, erasing, modifying, or
otherwise altering any and all electronic media, including, but not limited to, work and
personal email accounts, text messages, Skype logs, instant messages, application-based

communications, external hard drives, thumb drives, or other portable media, network

 

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drives, computers, cellular phones, smart phones, and personal digital assistants, that
have stored Defendants’ documents or information, or were used to transfer or
temporarily store Defendants’ documents, data, or information, or that referred or related
to Plaintiffs as well as the operation and financial planning of VFMAC until such time
that the Court gives them leave to do so.

(h) Plaintiffs be awarded all reasonable attorneys’ fees, and costs incurred in
addressing Defendants’ misappropriation of Plaintiffs’ paid tuition funds ; and

(i) Plaintiffs be awarded such other and further necessary and proper relief as the

Court may deem just and proper.

Respectfully submitted,

April 1, 2019 BY: /s/Leno P. Thomas
LENO P. THOMAS, ESQUIRE
SOLOMON, BERSCHLER, FABICK,
CAMPBELL & THOMAS, P.C.
Attorney for Plaintiffs
317 Swede Street
Norristown, PA 19401
610-279-4300
Attorney ID No. 90702

 

 

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EXH|B|T A

 

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March lO, 2019
Via Email

Walter Lord, President
Valley Forge Military Academy and College
Crossed Sabers

Re: VFMAC
Dear Walt:

As you know, your letter of resignation from employment at, and as President of, VFMAC was
presented by you on Friday, March 8, 2019, and was accepted by the Board by unanimous vote. At that
time, no actual end date was indicated in your letter that was discussed by the Board.

Since that time, however, there have been comments and conduct by various people who are
unaware of the much more strategic issues facing the school, and which comments and conduct have created
separate issues detrimental to the institution On Sunday morning, several members or representatives of
the Board had asked to meet with you on Sunday to address these mounting issues. You replied that you
were not available to meet.

Given the mounting detriment to the institution, therefore, l write to advise you that your
employment at VFMAC as President is ended, effective immediately You had advised the Board in your
letter that you would end your employment earlier, if requested, and that offer has been accepted While
Staff Memorandum provides that housing at VFMAC must ordinarily be ended within 30 days of the end
of employment at VFMAC, the Board is willing to extend this date to something later than provided by the
Staff Memo. The institution will also work out a mutually agreeable date and time when you can return to
Wayne Hall to pick up your personal belongings that are located there. The institution also will supply
whatever benefits are owed to you under your employment agreement of last year.

The Board is unanimously supportive of the Chair. We regret that this action has to be taken. It is
believed to be in the best interests of the institution, however,

Should you have any questions, please do not hesitate to contact me.

Very truly yours,

M?d)
John English

Chair, Board of Trustees, VFMAC

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VALLEY FORGE MILITARY
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March 12, 2019
Dear Friends of Valley Forge Military Academy and College:

By now you are all well aware of the sudden resignation of Major General Walt Lord as President of
Valley Forge Military Academy and College. His resignation is effective immediately and Col Stuart B.
Helgeson, USMCR and Vince Vuono are now serving in dual roles under the heading of “Office of the
President.”

There have been rumors and innuendo surrounding MG Lord’s unexpected departure, and I’m writing
today to shed some light on what took place.

Key points that you should know are:

v The Board did not dismiss I\/IG Lord. We were collectively taken aback by his resignation We
fully expected him to continue through the end of the year and through the 2019-2020 academic
year.

o After MG Lord submitted his letter of resignation, the Board entered executive session and I
offered to step down if the Board wished to retain MG Lord. That offer was rejected
unanimously by those in attendance

0 VFMAC, like all military schools, continues to face challenges However, we are in a better
position than we have been in a decade, both financially and academically. Some credit for this
goes to MG Lord, but not all. No institution succeeds because of one person; we have a very
strong team in place, working in concert to take The Forge into the future.

I think most of you know the Valley Forge Board has always been very actively involved in the
institution We engage in vigorous debate. Our Board is filled with VFMAC alumni who love the
institution and many of us were launched into successful careers from hei'e. Through the years, we have
learned the best results come as a result of open, honest and sometimes uncomfortable discussion That
said, once a decision has been made the Board sticks together.

MG Lord certainly knew and understood how our Board operated when he accepted the role of
President. He served for nearly five years as a Trustee and was Chair of the College Oversight
Committee. He saw first~hand the interaction of the Board and the staff at Valley Forge. He knew me
and my management style. He knew the dynamics of the Board and the staff, which is part of the reason
he was such an attractive candidate to run the institution He knew and acknowledged the fiduciary
responsibilities of the Board and our role in helping to achieve a solid, fiscal footing for Valley Forge.

lt is important to stop and recognize that over the best part of a year, the combined team, staff and Board
together, accomplished great things. Under the direction of aluinnus Dr. Paul Lea, Dean of the
Academy, our academic offerings there are greatly improved The Academy is thriving. We rebuilt the

 

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Commandant’s Department with more Senior TAC’s, increased Academy enrollment, and tacl<led the
elimination of school debt in FY ’18-19.

However, we continue to face serious challenges on the college side. To stem that, management and the
Board challenged the Dean and staff there to present ideas to stop attrition and improve its value
proposition The process included interviews with current and former cadets and other research; this will
result in some changes at the college level designed to improve its fiscal footing, increase its relevance
in today’S Higher Ed marketplace, stop the exodus of students and increase enrollment ln the view of
the Board, not making these changes would have been an abdication of responsibility.

The situation at Valley Forge is not unique to us - it exists at military schools and campuses throughout
the country. l believe that the values Valley Forge stands for are more important than ever in today’s
society. l\/ly fellow Board members and l are deeply committed to ensuring that VFMAC survives and
thrives into the future so that we can fulfill our mission and make a positive impact on the world around
us.

I’m confident that with guidance and direction from Stu and Vince and with full cooperation from the
staff and Board of Trustees, Valley Forge will continue along its path to greatness. Its trajectory is
pointed in the right direction - upward.

Sincerely,
John English

Board Chair
Class of ‘91

 

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VALLEY FORGE MILITARY ACADEMY FOUNDATI()N
BY-LAWS

(As of November 6, 2018)

 

REGISTERED OFFICE

l. The registered office of the Foundation is to be at Wayne, Delaware County,
Pennsylvania, or at such other location, either within or Without the County as may be approved
by the Trustees of the Foundation.

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2. The Corporate Seal of the Foundation shall have inscribed thereon the name of the
Foundation, the year of its creation and the words “A NONPROFIT CORPORATIO ” and
“CORPORATE SEAL, PENNSYLVANIA”.

FISCAL YEAR
3. The fiscal year of the Foundation shall begin the first day of July.
MEMBERS

4. The membership of the Foundation shall consist of the persons constituting the Board of
Trustees (sometimes referred to as the “Board of Trustees” and sometimes referred to as the
“Board”).

APPGINTMENT OF TR USTEES

5. The business of the Foundation shall be managed by a Board of Trustees, no less than
nine (9), nor more than thirty-five (35) in number. Trustces shall be appointed or designated in
the following manner: At the Annual Meeting, Trustees shall appoint and reappoint Trustees,
each Trustee to serve for three years from l July of` the first year through 30 June of the third
year, or until their successors are duly appointed and qualified Annually, two (2)
representatives of the Alumni Association (the “Alumni Association Representatives”) shall be
appointed members of the Board of Trustees in the manner provided in Paragraph 6, below. The
incumbent President of Valley Forge Military Academy and College shall be an ex officio,
nonvoting member of the Board of Trustees, and shall not be counted as part of the thirty-five
(3 5) nor for purposes of a quorum. Except With respect to the Alumni Association
Representatives (referred to in Paragraph 6, below), the term of up to eleven (l l) of the Trustees
shall expire at the end of each year. A newly appointed Trustee may be appointed for an initial
term of less than three (3) years.

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6. Upon satisfactorily completing the vetting process (the process of examination,
investigation and evaluation of a prospective member of the Board of Trustees) by the
Committee on Trustees and appointment by the Board of Trustees, in accordance with the
provisions of Paragraph 5, the incumbent Chairman of the Board of Directors of the Alumni
Association and the incumbent President of the Alumni Association shall become Trustees. In
the event the incumbent Chairman of the Board of Directors of the Alumni Association and/or
the incumbent President of the Alumni Association does not satisfactorily complete the vetting
process of the Committee on Trustees and appointment by the Board of Trustees, the Board of
Directors of the Alumni Association shall designate a member or members of the Board of
Directors of the Alumni Association to serve on the Board of Trustees in place of the incumbent
Chairman and/or incumbent President, subject to such designated member or members
satisfactorily completing the vetting process of the Committee on Trustees and appointment by
the Board of Trustees, as previously stated.

MEETING OF TR USTEES

7. There shall be four (4) meetings of the Board of Trustees during each fiscal year, one
during each calendar quarter if possible. One meeting shall be held on a weekday during the
week of Alumni Homecoming Saturday in spring in each year, at a time and place designated by
the Chairman of the Board of Trustees of the Foundation (the “Annual Meeting”). The other
three meetings shall be held at times and places, also designated by the Chairman of the Board
(“Regular Meetings”).

SPECIAL MEETINGS

8. Special meetings may be held at the call of the Chairman, which the Chairman may make
at the Chairman's discretion and shall make on the written request of a minimum of seven (7)
Trustees. Special meetings will require at least five (5) days written notice or three (3) days
electronic mail, facsimile or telephone notice.

NOTICE OF MEETINGS OF TR USTEES

9. Except as provided in paragraph 8, relating to Special Meetings, a written notice of all
Trustee meetings shall be given at least ten days prior to the meeting

10. Under the provisions of the Nonprofit Corporation Law of 1988 (the “1988 NCL”) or by
the Articles of Incorporation (the “Articles”) or by these By-Laws, notice of the date, time and
place of every stated annual and regular meeting shall be sent by mail, email or facsimile to each
Trustee at the last known address on record with the Foundation, at least ten (10) calendar days
prior to the time set for the meeting If mailed, the notice of a meeting shall be deemed to be
delivered when deposited in the United States mail, postage prepaid, addressed to the member at
the member's current address as it appears on the record of the Foundation. A notice of meeting
shall specify the place, day and hour of the meeting and any other information required by any
other provision of the 1988 NCL, the Articles or these By~Laws.

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11. Notice or other communications shall not be sent to any Trustee with whom the
Foundation has been unable to communicate for more than twelve (12) consecutive months
because communications to the Trustee are returned unclaimed or the Trustee has otherwise
failed to provide the Foundation with a current address. Whenever the Trustee provides the
Foundation with a current address, the Foundation shall commence sending notices and other
communications to the Trustee in the same manner as to other Trustees.

NOTICE OF CANCELLED MEETING OF TR USTEES

12. When a meeting of Trustees is cancelled, it shall not be necessary to give any notice of
the cancelled meeting or of the business to be transacted at the cancelled meeting, other than by
announcement at the meeting at which the cancellation is taken, unless the Board fixes a new
record date for the cancelled meeting

WRITTEN WAIVER OF NUTICE

13. Whenever any written notice is required to be given under the provisions of the 1988
NCL, the Articles or these By-Laws, a waiver thereof in writing, signed by the person or persons
entitled to the notice, Whether before or after the time stated therein, shall be deemed equivalent
to the giving of the notice. Except as otherwise required by this section, neither the business to
be transacted at, nor the purpose of, a meeting need be specified in the waiver of notice of the
meeting ln the case of a Special Meeting of Trustees, the waiver of notice shall specify the
general nature of the business to be transacted.

WAIVER OF NOTICE BYATTENDANCE

14. Attendance of a person at any meeting shall constitute a waiver of notice of the meeting
except wherein a person attends a meeting for the express purpose of objecting, at the beginning
of the meeting, to the transaction of any business because the meeting Was not lawfully called or
convened.

OUOR UMAND VUTING AT MEETINGS OF BOARD
15. Each Trustee shall be entitled to one vote in person or by proxy.

16. A majority of the then current membership of the Board of Trustees, in person or by
proxy, shall constitute a quorum for the transaction of any business, and the acts of a majority of
such members of the Board at the meeting at Which a quorum is present shall, unless otherwise
specifically provided by the 1988 NCL, the Articles or these By-Laws, be the acts of the Board
of Trustees. If all the Trustees constituting the Board at any time shall severally or collectively
consent in writinth any action to be taken by the Foundation, such action shall be as valid
corporate action as though it had been authorized at a meeting of the Board of Trustees.

PROXIES

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17. Every Trustee entitled to vote at a meeting of Trustees or to express consent or dissent to
Foundation action in writing Without a meeting may authorize another person to act for the
Trustee by proxy. However, the person to whom the proxy is assigned must also be a Trustee.

18. The presence of, or vote or other action at a meeting of Trustees, or the expression of
consent or dissent to Foundation action in writing, by a proxy of a Trustee shall constitute the
presence of, or vote or action by, or written consent or dissent of the Trustee.

19. Every proxy shall be executed in writing by the Trustee or by the duly authorized
attorney-in-fact of the Trustee and filed with the Secretary of the Foundation. A proxy, unless
coupled with an interest, shall be revocable at will, notwithstanding any other agreement or any
provision in the proxy to the contrary, but the revocation of a proxy shall not be effective until
written notice thereof has been given to the Secretary of the Foundation. An un-revoked proxy
shall not be valid after ninety (90) days from the date of its execution unless a longer time is
expressly provided therein. In any case, the period of time shall not exceed one (1) year. A proxy
shall not be revoked by the death or incapacity of the maker unless, before the vote is counted or
the authority is exercised, written notice of the death or incapacity is given to the Secretary of the
Foundation.

LIST OF TR USTEES
20. A list of Trustees entitled to vote shall be maintained by the Secretary.
GENERAL POWERS OF TR USTEES

21. The Board of Trustees shall manage the business of the Foundation. In addition to the
powers and authorities by these By-Laws expressly conferred upon them, the Board may
exercise all such powers of the Foundation and do all such lawful acts and things as are not by
1988 NCL, the Articles or these By-Laws directed or required to be exercised or done by the
Trustees.

SPECIFIC PO WERS OF TR USTEES

22. Without prejudice to the general powers conferred by the last preceding clause, and the
other powers conferred by the Articles, and by these By-Laws, it is hereby expressly declared
that the Board of Trustees shall have the following powers:

FIRST: From time to time to make and change rules and regulations not inconsistent
with these By-Laws, for the management of the Foundation’s business and affairs.

SECUND: To purchase or otherwise acquire for the Foundation any property, rights or

privileges which the Foundation is authorized to acquire, at such price and on such terms and
conditions and for such consideration as they shall from time to time see fit.

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THIRD: To appoint, remove or suspend a President of the Valley Forge Military
Academy and College; to conduct, through the Chair and Vice-Chair an annual performance
review of the President between May and September of each year with the express purpose of:

a) Indicating satisfaction or dissatisfaction with job performance;
b) Setting compensation parameters for coming year;
c) Discussing President’s succession when appropriate;

d) Acting re President’s successor as necessary; and at their discretion, appoint,
remove or suspend any subordinate officers, agents or servants of the Foundation permanently or
temporarily, as they may from time to time think fit, and to determine their duties, by Resolution
Where necessary, and fix, and from time to time change, their salaries or benefits, and to require
security in such instances and in such amounts as they may see fit. The Chairman and Vice
Chairman will provide a report to the Executive Committee regarding the results of the
President’s Annual Performance Review.

F 0 URT H : To confer by Resolution upon an appointed officer of the Foundation the
power to choose, remove or suspend such subordinate officers, agents or servants.

FIFTH: To appoint any person or persons to accept and hold in trust for the Foundation 1
any property belonging to the Foundation, or in which it is interested, or for any other purpose,
and to execute and do all such duties and things as may be requisite in relation to any such trust.

SIXTH: To determine Who shall be authorized on the Foundation’s behalf to sign bills,
notes, receipts, acceptances, endorsements, checks, releases, contracts and documents

SE VENTH: From time to time to provide for the management of the affairs of the
Foundation, at home or abroad, in such manner as they see fit, and in particular, from time to
time to delegate any of the powers of the Board in the course of the current business of the
Foundation to any Standing or Special Committee, or to any officers or agents, and to appoint
any persons to be agents of the Foundation with such powers (including the power to sub-
delegate), and upon such terms as may be thought fit.

EIGHTH: The Chairman of the Board of Trustees each year shall appoint the following
Standing Committees and may appoint such Special Committees as the Chairman may from time
to time determine: Committee on Trustees, Budget, Audit & Finance Committee, lnvestment
Committee, Development Committee, Plant & Facilities Committee, Academy Oversight
Committee, and College Oversight Committee.

NINTH.' To authorize debt, including bank credit lines, short-term borrowings, capital
leases, or issuance of bonds to finance operations or acquisitions of facilities and equipment

TENTH: To engage external auditors to perform the annual financial audit of the
Foundation.

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Each of the standing committees shall consist of a chairman, who shall be a Trustee, appointed
by the Chairman of the Board and such other members who need not be Trustees, as may be
determined by the Chairman of the Board and the chairman of the committee

The Chairman of the Board may, from time to time, appoint such members of the Board of
Trustees and nonmembers of the Board of Trustees to the Standing Committees as well as any
Special Committees as the Chairman may deem desirable

APPOINTMENT AND ADMINISTRA TION OF EXEC UT 1 VE COMMITTEE

23. The Executive Committee shall consist of up to eleven (1 l) members, and shall be
determined as follows:

A. The Chairman of the Board, the Vice Chairman of the Board and the Second Vice
Chairman of the Board, if any, shall automatically be members of the Executive Committee by
virtue of their positions as Chairman, Vice Chairman and Second Vice Chairman. The Vice
Chairman of the Board shall act as Chairman of the Executive Committee. The Second Vice
Chairman of the Board, if any, shall act as Chairman of the Executive Committee in the absence
ofthe Vice Chairman.

B. The Chairmen of the Standing Committees shall automatically be members of the
Executive Committee by virtue of their positions as Chairmen of such Standing Committees.
The Chairman of the Board shall select such other members of the Board of Trustees to serve on
the Executive Committee, provided the maximum number serving shall be limited to eleven (11),
including the Chairman, the Vice Chairman and the Second Vice Chairman, if any. The
incumbent President of Valley Forge Military Academy and College shall be an ex officio,
nonvoting, member of the Executive Committee.

C. During intervals between meetings of the Board, the Executive Committee shall
exercise the functions and responsibilities of the Board of Trustees in such manner as they
determine best for the interest of the Foundation in all cases in which specific directions shall not
have been given by the Board of Trustees to them. A majority of the members of the Executive
Committee, in person or by proxy, shall constitute a quorum for meetings of the Executive
Committee, and their decision shall be binding upon the Committee. The Committee may fix its
own rules of procedure and shall meet or otherwise communicate as provided by such rules. All
actions by the Executive Committee shall be reported to the Board of Trustees at the next
succeeding meeting of the Board of Trustees for ratification or approval and shall be subject to
revision or alteration by the Board of Trustees, provided that rights of third parties shall not be
affected by such revision or alteration

POWERS AND RESPONSIBILITIES OF COMMITTEES

24. Powers and responsibilities are assigned to the Executive Committee and the Standing
Committees as listed below:

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A. Executive Committee

l) Exercise functions and responsibilities of the Board of Trustees during
intervals between the meetings of the Board in all cases in which specific directions shall not
have been given by the Board of Trustees to the Committee; expedite transaction of business
between meetings of the Board.

The Executive Committee shall have authority to act on behalf of the
Board of Trustees on all matters except for those matters which have specifically been reserved
for the full Board or the Members by the By-Laws.

a) The Executive Committee’s main purpose is to strengthen the Board’s
performance by helping it to function efficiently and effectively Its broad powers shall be used
only as necessary and appropriate on routine housekeeping business or on emergency matters
that cannot or should not be delayed until the Board’s next regularly scheduled meeting or until a
special meeting of the Board can be called as specified in these By-Laws.

b) All actions by the Executive Committee shall be reported to the Board of
Trustees for ratification or approval and shall be subject to revision or alteration by the Board of
Trustees, provided that rights of third parties shall not be affected by such revision or alteration
to the Board at its next meeting for ratification

2) Serve as the Board’s mechanism for overseeing the institutional planning
process and progress toward goals and objectives

3) Oversee the work of the Standing Committees. From time to time
examine, evaluate and make recommendations regarding the Foundation Board, its composition,
organization, size and membership; determine its committee structure and functions Ensure that
the Board fulfills its responsibilities

4) From time to time, review and make recommendations to up~date
existing By-Laws.

5) Acting for the full Board of Trustees, to conduct an annual performance
review of the President between May and September of each year in accordance with
Paragraph 22, THIRD of these By~Laws when the Chairman and Vice Chairman do not conduct
an annual performance review of the President and provide a report to the Executive Committee.
Monitor the President’s morale, health and compensations.

6) Establish a subcommittee to discharge the Board’s responsibilities

relating to compensation of executive officers and governance matters, including, but not limited
to:

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a) Assess annually the Board’s performance and the performance of the
Committees of the Board;

b) Review, assess and make recommendations to the Board regarding the size
and composition of the Board;

c) Review, assess and make recommendations to the Board regarding corporate
governance guideline, including Trustee responsibilities and qualification
standards, and annual performance of the board and Committees;

d) Establish the individual compensation of the executive officers and any other
executive or senior officers reporting directly to the President;

e) Approve goals relevant to the President;
f) Evaluate the performance of the President in light of the goals;

g) Establish base salary ranges and general levels of other compensation
components for executive employees of the Foundation;

h) Periodically examine the compensation structure of the Foundation to
determine that the Foundation is rewarding its executive and other personnel in a
manner consistent with sound business practices of a not-for-profit educational
institution;

i) Make recommendations to the Board with respect to incentive compensation
plans for executive employees;

j) Review, assess and make recommendations to the Board with respect to the
Code of Ethics and Conduct for the Foundation; and,

k) Review and consider approval of any terms and conditions for employment
agreement, including the hiring and firing (when involving compensation beyond

customary or standard amounts) for executive employees of the Foundation.

7) Have the ability to confirm or challenge the Budget, Audit and Finance

Comrnittee's recommendations concerning the independent auditors

8) Receive a report from the Chairman and Vice Chairman regarding the results

of the President’s Annual Performance Review.

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B. Committee on Trustees

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1) Measure the Board’s formal and informal organization yearly against the
requirements of the institution’s strategic plan and the Board’s previous evaluation; help the
Board determine desired Board composition in terms of influence, diversity and talents.

2) Populate the Board with able, dedicated trustees by maintaining a
viable list of candidates and by cultivating top prospects; select and nominate candidates for the
Board.

3) Review the performance of incumbent trustees, particularly those up for
reelection, and oversee periodic reviews by the Board of its own performance; review the

performance of Board officers annually.

4) Nominate officers of the Foundation.

5) Work with the Board Chair to establish and oversee the trustee
orientation process.
6) Work closely with the Board Chair in planning retreats and suggesting

other committees

7) Recommend persons upon whom the title of Honorary Life Trustee may
be conferred by the Board in accordance with Paragraph 3 8.

C. Budget, Audit & Finance Committee

 

` 1) Review draft operating and capital budgets and make appropriate
recommendations for Board of Trustee approval.

2) Provide oversight in the execution of the current year budget and alert
the Board of Trustees to potential deficits or unusual items of expenditure

3) Review the management of the Foundation’s operating funds from a
propriety standpoint to ensure a balanced allocation among education, cadet and physical plant
maintenance needs is achieved.

4) Ensure that a viable long~range financial plan is in place and maintainedl

5) Review budget and financial policies; when appropriate, recommend
changes to the Board of Trustees.

6) Review annual audit statements and report significant trends, changes or

internal control weaknesses to the Board of Trustees; recommend acceptance of audited
statements at fall meeting of the Board.

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7) Ensure accounting system and related procedures are adequate to assure
proper recording, accounting, reporting and the safeguarding of Foundation assets; recommend
accounting and management system improvements as appropriate

8) Recommend appointment/engagement of external auditor, to include
definition of nature and scope of auditor’s responsibilities

9) Review the written policy on business conduct and potential conflicts;
assure distribution to appropriate employees and investigate any major deviations to these
policies

D. Investrnent Committee

Oversee the investment of all hinds of the institution, to include Endowed Funds, Baker
Trust Restricted Funds, residual or other Restricted Funds, Pension Funds, Debt Sinking Funds
and Operating Funds, and review all outside security investments, performing the following in

accomplishment of this:

1) Monitor performance of the Foundation’s investments against stated
objectives

2) Review the performance of all investment managers against the
objectives and, if appropriate recommend appointment or change

3) Review, at least annually, the Foundation’s investment goals and
guidelines and, as appropriate recommend asset allocation changes to the Board of Trustees.

4) Report semi-annually to the Board of Trustees on the status of the
various funds invested, to include statements of assets income and performance

5) Review and make recommendations regarding endowment goals and
annual income available for operations from endowments.

E. Development Committee

Ensure the operation of a vigorous and appropriate fund-raising program for the institution,
addressing four component roles:

1) v Ensure that fund-raising efforts align clearly with mission statement
developed by the Board of Trustees:

a) Insist that the institution have a clear statement of` mission and a current
statement of priorities

b) Set institutional policies and guidelines for fund-raising

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2) Understand the need for fund-raising and have the ability to educate and
encourage other board members to participate in raising funds:

a) Develop understanding of the role fund-raising plays in the life of the
institution

b) Educate and encourage board members to participate in fund-raising

3) Monitor the operation of the development pro gram, including budget,
staff and use of fund-raising counsel:

a) Help evaluate the development staff and budget
b) Assist in making the most effective use of fund-raising counsel

4) Undertake the process of soliciting gifts, helping to set goals appropriate
for board members themselves:

a) Help set goals for board member giving
b) Identify, evaluate and assign gift prospects
F. Plant and Facilities Committee
1) On a broad basis, oversee the institution’s land, buildings and equipment

2) Ensure the adequacy and condition of land, buildings and equipment
required to operate the institution

3) Monitor the development, currency and planning for a comprehensive
facilities-management program by the Post Engineer, including for regular maintenance of,
facilities policies for near and long-term guidance on use of existing plant, plans for future land-
use and space requirements

4) See that institution has in place plans for renewal, replacement or
removal of components of the physical plant

5) Monitor the integration of facilities management with academic,
financial and human resource planning

G. Academy Oversight Committee

1) The primary responsibility of the Academy Oversight Committee shall be
policymaking for VFMA and oversight of the management of the Academy’S resources

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2) The Academy Oversight Committee should recognize and accept the following
responsibilities

a) Periodically review, approve and advocate for the Academy’s mission
statement

b) In conjunction with the President of Valley Forge Military Academy &
College (VFMAC), select the Dean of the Academy, Valley Forge Military Academy, to lead the
Academy.

c) In conjunction with the President of VFMAC, support and monitor the Dean of
the Academy’s performance and establish and review the Dean of the Academy’s compensation

d) Charge the Dean of the Academy with the task of leading a strategic planning
process, participate in and monitor that process, and approve the Academy’s strategic plan.

Dean of the Academy
e) In conjunction with the Board of Trustees, periodically assess the performance
of the Academy Oversight Committee, its subcommittees and its members

f) In conjunction with the Board of Trustees, ensure fiscal integrity, preserve and
protect the Academy’s assets for posterity, and see to it that the Academy has adequate resources
to Support its mission

g) Ensure the educational quality of the Academy.

h) Ensure the Academy policies and processes are current, properly implemented,
and managed well.

i) Ensure that policies, processes, and instruction are formulated and conducted in
an atmosphere of academic freedom.

j) Conduct the Academy’s business with the highest integrity and appropriate
transparency.

3) The President of VFMAC and the Dean of the Academy of VFMA shall be ex-
ojj'icio voting members of the Academy Oversight Committee.

H. College Oversight Committee

 

l) The primary responsibility of the College Oversight Committee shall be
policymaking for Valley Forge Military College and oversight of the management of the
College’s resources

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2) The College Oversight Committee should recognize and accept the following
responsibilities

a) Periodically review, approve and advocate for the College’s mission statement.

b) In conjunction with the President of Valley Forge Military Academy &
College (VFMAC), select the Dean of Valley Forge Military College to lead the College.

c) In conjunction with the President of VFMAC, support and monitor the Dean of
the College’s performance and establish and review the Dean of the College’s compensation

d) Charge the Dean of the College with the task of leading a strategic planning
process, participate in and monitor that process, and approve the College’s strategic plan.

e) In conjunction with the Board of Trustees, periodically assess the performance
of the College Oversight Committee, its subcommittees, and its members

f) In conjunction with the Board of Trustees, ensure fiscal integrity, preserve and
protect the College’s assets for prosperity, and see to it that the College has adequate resources to
support its mission.

g) Ensure the educational quality of the College.

h) Ensure that College policies and processes are current, properly implemented,
and managed well.

i) Foster an environment of independence within the College, such that policies,
processes, and instruction are formulated and conducted in an atmosphere of academic freedom.

j) Conduct the College Oversight Committee’s business With the highest integrity
and appropriate transparency.

3) The President of VFMAC and the Dean of VFMC shall be ex-ojj‘icio voting
members of the College Oversight Committee.

ELECTION OF OFFICERS OF THE BOARD

25. Officers of the Board of Trustees shall be elected at the Annual Meeting and shall serve
for a one-year term from l July of the election year through 30 June of the following year or
until their successors are duly elected and qualified, such officers to be as follows: Chairman,
Vice Chairman (and an additional Vice Chairman [the “Second Vice Chairman”], at the
discretion of the Chairman, and upon nomination by the Committee on Trustees and election by
the Board), Secretary, Treasurer, and such other additional officers as the Board may from time
to time determine lt shall be necessary for the Chairman, the Vice Chairman and the Second

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Vice Chairman, if any, to be Trustees, but the Secretary or Treasurer may or may not be a
Trustee

DUTIES OF CHAIRMAN OF THE BOARD

26. The Chairman of the Board shall preside at all meetings of the Trustees; shall have
general direction of the business of the Foundation; shall see that all orders and resolutions of the
Board are carried into effect; shall execute bonds, mortgages and other contracts requiring a seal,
under the seal of the Foundation.

27. The Chairman of the Board shall have general superintendence and direction of all the
other officers of the Foundation, and shall see that their duties are properly performed

28. The Chairman of the Board shall submit a report of the operations of the Foundation for
the fiscal year to the Trustees at the Annual Meeting, and from time to time shall report to the
Board all matters within the Chairman's knowledge which the interests of the Foundation may
require to be brought to their notice

29. The Chairman of the Board shall be ex officio a member of all Standing Committees and
Special Committees and shall have the general powers and duties of supervision and
management usually vested in the office of a President of a Corporation.

DUTIES OF VICE-CHAIRMEN OF THE BOARD

30. A. Vice Chairman. The Vice Chairman shall serve as Chairman of the Executive
Committee, and shall be vested with such powers and required to perform such duties as the
Board of Trustees may determine In the absence of the Chairman of the Board, the Vice
Chairman shall have all of the powers and duties of the Chairman of the Board,

B. Second Vice Chairman. The Second Vice Chairman, if any, shall be vested with such
powers and shall be required to perform such duties as the Chairman may determine In the
absence of the Chairman and Vice Chairman of the Board, the Second Vice Chairman shall have
all of the powers and duties of the Chairman or Vice Chairman, as the case may be

DUTIES OF THE SECRETARY

31. The Secretary shall keep or supervise the keeping of minutes of all annual, regular and
special meetings of the Board of Trustees. The Secretary shall attend all meetings of the Board,
and record all votes and the minutes of all proceedings in a book to be kept for that purpose The
Secretary shall give, or cause to be given, notice of all meetings of the Board of Trustees, and
shall perform such other duties as may be prescribed by the Chairman of the Board, under whose
supervision the Secretary shall be The Secretary shall keep in safe custody the seal of the
Corporation, and When authorized by the Board, affix the seal to any instrument requiring the
same, and the seal, when so affixed, shall be attested by the Secretary or the Treasurer.

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DUTIES OF THE TREASURER

32. The Treasurer shall be responsible for accepting, on behalf of the Board, the annual
audited financial statements and management report from the external auditor and providing an
annual report to the Board on the financial condition of the Foundation.

DUTIES OF 0FFICERS AMY BE DELEGATED

33. In case of the absence of any officer of the Foundation or for any other reason that the
Board may deem sufficient, the Board may delegate the powers or duties of such officer to any
other officer, or to any Trustee for the time being; provided, a majority of the entire Board as
then constituted concur therein.

REMOVAL OF OFFICERS OR AGENTS

34. Any officer or agent elected or appointed by the Board of Trustees may be removed by
the Board of Trustees, whenever in its best judgment the best interest of the Foundation will be
served thereby, but such removal shall be without prejudice to the contract rights, if any, of the
person so removed.

TR USTEES AND OFF[CERS AM Y RESIGN

35. Any Trustee or any officer may resign at any time, such resignation to be made in writing
to take effect from the time of its receipt by the Foundation, unless some time be fixed in the
resignation, then from that date The acceptance of a resignation shall not be required to make it
effective

TR USTEE AND OFF"ICER VACANCIES

36. If there is a Trustee vacancy or if the office of any Trustee or of the Chairman of the
Board, Vice-Chairmen of the Board, Second Vice Chairman of the Board, if any, Secretary or
Treasurer becomes vacant by reason of death, resignation or disqualification or otherwise the
remaining Trustees, though less than a quorum, by a majority vote may choose a successor or
successors who shall hold office for the unexpired term, or until his successor is elected and
qualifies

REMO VAL OF TR USTEES

37. The Board of Trustees may remove someone as Trustee if declared of unsound mind by
an Order of Court, or convicted of felony, or for any other proper cause or if, within sixty days
after notice of a Trustee’s election, such Trustee does not signify a willingness to serve

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HONORARYLIFE TRUSTEE

38. The Board of Trustees may, upon the recommendation of the Committee on
Trustees, confer upon any person, and particularly upon past trustees, that title of Honorary Life
Trustee which shall be a ceremonial only title based upon that person’s distinctive service to the
Board and/or significant contributions to the advancement of the welfare of Valley Forge
Military Academy and College. This ceremonial title of Honorary Life Trustee shall not have
any voting rights nor shall such Honorary Life Trustee be entitled to attend or participate in any
executive session and/or confidential meetings of the Board of Trustees nor be entitled to the
meeting minutes or other confidential documents which have been reviewed, created or
distributed, including but not limited to any meeting minutes related to executive session by the
Board of Trustees. The Honorary Life Trustee shall be invited to attend the general session of
any Board of Trustees meetings and also encouraged to attend such other activities and functions
to which Trustees are generally invited.

AL UMNIASSOCIA TION

39. The Valley Forge Military Academy and College Alumni Association (the “Alumni
Association”) was formed many years ago to promote the Welfare of Valley Forge Military
Academy and College (the “Academy and College”) and the establishment of a mutually
beneficial relationship between the Academy and College and its alumni.

40. The Constitution and By-Laws of the Alumni Association are hereby adopted by the
Foundation and incorporated in these By-Laws by reference The incorporation of the Alumni
Association into the Foundation was formalized by a separate agreement dated May 14, 1993
(the “Incorporation Agreement”). The continued relationship between the Alumni Association
and the Foundation shall be governed in accordance with the lncorporation Agreement. The
references in these By-Laws to defined terms shall have the same meanings in these By-Laws as
in the Incorporation Agreement. The amendment of the Constitution and By-Laws of the Alumni
Association shall be subject to ratification by the Board of the Foundation. Further, the
amendment of the By-Laws of the Foundation, relating to the Alumni Association, shall be
subject to ratification by the Board of Directors of the Alumni Association,

41. The Foundation shall, from time to time provide the Alumni Association with office
space personnel (including the Staff Officer), supplies and such other support as the President of
the Academy and College deems reasonably necessary for the Alumni Association to operate and
to fulfill its intended purposes

42. The Foundation shall establish an account on its books for the exclusive use of the
Alumni Association (the “Account”), in the name of the Alumni Association, into which monies
(the “Funds”) generated by the Alumni Association from its activities will be recorded, the
Funds actually being deposited into the general operating bank account of the Foundation. The
Alumni Association shall provide a complete accounting of all receipts to the Foundation. The
use of the Funds recorded in the Account shall be at the discretion of the Alumni Association;
provided, however, at no time shall the Funds be used for purposes which would adversely affect

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the status of the Foundation under Section 501 (c) (3) of the lnternal Revenue Code of 1986, as
amended, or any successor provision thereto', or, the laws of the Commonwealth of
Pennsylvania; or, the Articles of Incorporation or the By-Laws of the Foundation; and, will not
be used for illegal, immoral, unethical or any other purposes which may be detrimental to the
goals or objectives of the Foundation, or the Academy and College as determined by the
President of the Academy and College.

AMENDMENT OF BY-LA WS

43. The Board of Trustees, by the affirmative vote of a majority of Trustees, may alter or
amend these By-Laws at any Regular Meeting or Annual Meeting of the Board or at any Special
Meeting of the Board, provided that notice of the proposed alteration or amendment has been
given to each Trustee

INDEMNIFICATION OF TR USTEES, OFFICERS. ETC.

44. Limitation of Personal Liabilitv of and Dutvto Indemnifv Trustees. A Trustee shall not
be personally liable for monetary damages for any action taken or any failure to take any action,
and a Trustee shall be indemnified and defended by the Foundation for any such damages,
including reasonable attomeys' fees and expenses, unless:

(a) Such Trustee has breached or failed to perform the duties of his or her office as
defined in Section 45 below; and

(b) The breach or failure to perform constitutes self-dealing, Willful misconduct or
recklessness

The provisions of this Section 44 shall not apply to (i) the responsibility or liability of a Trustee
pursuant to any criminal statute; or (ii) the liability of a Trustee for the payment of taxes pursuant
to local, state or federal law.

45. Standard of Care and Justifiable Reliance

(a) A Trustee of the Foundation shall stand in a fiduciary relationship to the Foundation,
and shall perform his or her duties as a Trustee including his or her duties as a member of any
committee of the Board upon which he or she may serve in good faith, and in a manner he or she
reasonably believes to be in the best interest of the Foundation, and with such care including
reasonable inquiry, skill and diligence as a person of ordinary prudence would use under similar
circumstances In performing his or her duties, a Trustee shall be entitled to rely in good faith on
information, opinions, reports or statements including financial statements and other financial
data, in each case prepared or presented by any of the following:

(i) One or more officers or employees of the Foundation Whom the Trustee
reasonably believes to be reliable and competent in the matters presented;

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(ii) Counsel, public accountants or other persons as to the matters which the Trustee
reasonably believes to be within the professional or expert competence of such person;

(iii) A report or recommendation of a committee of the Board upon which he or she
does not serve, duly designated in accordance with law, as to matters within its designated
authority, which committee report or recommendation the Trustee reasonably believes to merit
confidence

A Trustee shall not be considered to be acting in good faith if he or she has knowledge
concerning the matter in question that would cause his or her reliance under subparagraph (i),
subparagraph (ii) or subparagraph (iii), above to be unwarranted

(b) In discharging the duties of their respective positions the Board, committees of the
Board and individual Trustees may, in considering the best interests of the Foundation, consider
the effects of any action upon employees, upon persons with whom the Foundation has business
and other relations and upon communities in which the offices or other establishments of or
related to the Foundation are located, and all other pertinent factors The consideration of those
factors shall not constitute a violation of subsection (a) of this Section.

(c) Absent breach of fiduciary duty, lack of good faith or self-dealing, actions taken as a
Trustee or any failure to take action shall be presumed to be in the best interests of the
Foundation.

46. lndemnification in Third Partv Proceeding_s_. The Foundation shall have the power to
indemnify and defend any person who was or is a party or is threatened to be made a party to any
threatened, pending or completed action or proceeding (hereinafter, "Action"), whether civil,
criminal, administrative or investigative other than an Action by or in the right of the
Foundation, by reason of the fact that he or she is or Was a Representative of the Foundation, or
is or was serving at the request of the Foundation as a Representative of another domestic or
foreign corporation for profit or not-for~profit , partnership, joint venture trust or any other
enterprise against expenses (including reasonable attorneys’ fees), judgments fines and amounts
paid in settlement actually incurred by him or her in connection with the action or proceeding if,
in the opinion of the Board as determined in accordance with the provisions of Section 49, he or
she acted in good faith and in a manner he or she reasonably believed to be in, or not opposed to,
the best interests of the Foundation and, with respect to any criminal proceeding , had no
reasonable cause to believe his or her conduct was unlawful. The termination of any action or
proceeding by judgment, order, settlement or conviction or upon a plea of nolo contendere or its
equivalent shall not of itself create a presumption that the person did not act in good faith and in
a manner that he or she reasonably believed to be in, or not opposed to, the best interests of the
Foundation and, with respect to any criminal proceeding, had reasonable cause to believe that his
or her conduct was unlawful.

47. Indemnification and Derivative Actions. The Foundation shall have power to indemnify
any person who was or is a party defendant, or is threatened to be made a party defendant, to
any threatened, pending or completed Action by or in the right of the Foundation to procure a

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judgment in its favor by reason of the fact that he or she is or was a Representative of the
Foundation or is or was serving at the request of the Foundation as a Representative of another
domestic or foreign corporation for profit or not for profit, partnership, joint venture trust or
other enterprise against expenses (including reasonable attorneys’ fees) actually incurred by
him or her in connection with the defense or settlement of the Action if, in the opinion of the
Board as determined in accordance with the provisions of Section 49, he or she acted in good
faith and in a manner he or she reasonably believed to be in, or not opposed to, the best
interests of the Foundation. lndemnification shall not be made under this Section in respect of
any claim, issue or matter as to which the person has been adjudged to be liable to the
Foundation unless and only to the extent that the court of common pleas of the judicial district
embracing the county in which the registered office of the Foundation is located or the court in
which the Action was brought determines upon application that, despite the adjudication of
liability but in view of all the circumstances of the case such person is fairly and reasonably
entitled to indemnity for such expenses that the court of common pleas or other court shall
deem proper.

48. Mandatorv lndemnification. Notwithstanding any contrary provision in the Articles of
lncorporation, as amended from time to time or these By-Laws, to the extent that a
Representative of the Foundation has been successful on the merits or otherwise in defense of
any Action or proceeding referred to in Section 46 (relating to Third Party Proceedings) or
Section 47 (relating to Derivative Actions) or in defense of any claim, issue or matter therein,
he or she shall be indemnified against expenses (including reasonable attorneys‘ fees) actually
incurred by him or her in connection therewith

 

49. Determination of Entitlement to lndemnification. Unless ordered by a court, any
indemnification under Section 46 (relating to Third Party Proceedings) or under Section 47
(relating to Derivative Actions) shall be made by the Foundation only as authorized in the
specific case upon a determination that indemnification of the Representative is proper under
the circumstances because he or she has met the applicable standard of conduct set foith in
those sections Such determination shall be made:

(a) by a majority vote of a quorum of the Board consisting of Trustees who were not
party to the action or proceeding; or

(b) if such a quorum is not attainable or, even if attainable if a majority vote of a quorum
of disinterested Trustees so directs based upon independent legal counsel in a written opinion.

50. Advancing Expenses Expenses (including reasonable attorneys’ fees) incurred in
defending any Action or proceeding may be paid by the Foundation in advance of the final
disposition of the Action or proceeding upon written request by or on behalf of the indemnified
party to advance such expenses unless it is determined by the Board, in good faith, that he or she
is not entitled to be indemnified by the Foundation as authorized in Section 44 through
Section 46 above

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51. lndemnification of Former Trustee The Foundation shall provide indemnification for
former Trustees in the same manner as provided in these By~Laws for current Trustees of the
Board Each such indemnity may continue as to a person who has ceased to be a Trustee of the
Foundation and may inure to the benefit of the heirs executors and administrators of such
person.

52. Insurance. The Foundation shall purchase and maintain insurance on behalf of any
person who was or presently is or hereafter becomes a Trustee of the Foundation or Who
presently or hereafter is serving at the request of the Foundation as a Representative of another
foundation, partnership, joint venture trust or other enterprise against any liability asserted
against him or her and incurred by him or her in any such capacity, or arising out of his or her
status as such, whether or not the Foundation would have the power to indemnify him or her
against such liability. lf such insurance is not obtained or obtainable at a reasonable cost, as
determined by the Board, each such Representative shall be given written notice to that effect.

53. Reliance on Provisions. Each person who shall act as an authorized Representative of the
Foundation shall be deemed to be doing so in reliance upon the rights of indemnification
provided for herein.

54. Definition of Representative "Representative“ as used in those Sections relating to
indemnification of Trustees Officers and etc. shall include any current Trustee former Trustee
Officer of the Board, committee member of the Board or former Officer or committee member of
the Board '

 

55. Indemnification Exclusion. Notwithstanding anything in Paragraphs 44 through 54,
inclusive to the contrary, the Foundation shall not indemnify anyone who is being sued by the
Foundation.

DISCLOSURE OF CONFLICT OF INTEREST

5 6. Each Trustee and Officer shall disclose to the Board all the material facts concerning his
or her relationship with or interest in any person, firm, corporation or other entity with whom the
Foundation has, or proposes to enter into, any contract or other transaction which may, directly
or indirectly, result in financial gain or advantage to such member by reason of such relationship
or interest at a minimum on a yearly basis Additionally, where applicable all trustees are
required to disclose potential conflicts of interest not later than when the potential conflict
becomes a matter of Board action. Failure to make such a disclosure may be cause for the
removal of such Trustee and Officer. The Executive Committee shall have the responsibility to
review the information included in the aforementioned disclosure statements

TR USTEE ETHICS POLICY

57. Each Trustee and Officer of VFMA Foundation shall preserve and, if possible act to
enhance the assets and reputation of the Foundation, shall diligently promote the Foundation’s

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interests and shall develop ways for the Foundation to grow in quality and reputation They shall
perform their responsibilities in accordance with the highest precepts of business and education
integrity, good business practice and compliance with the law.

58. Each Trustee and Officer shall avoid actual or perceived conflicts of interest and shall
disclose certain relationships or interests as described in Section 56 above bearing in mind the
responsibility of Trustees and Officers to make decisions without favor or preference to third
parties but solely on the basis that the decision is in the best interest of the Foundation.

59. Contracting for goods and services and the obligation or expenditure of funds shall be
executed on the basis of Trustee Committee or Board action and decision, rather than on
individual Trustee action or decision.

60. lt is the Foundation’s policy to comply with all federal, state and local laws applicable to
the Foundation and VFMA&C.

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EXH|B|T F

 

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Comprehensive Assessment Fb"r Valley Forge Military
Academy and College

 

 

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Executive Summary

Governance

1. lf the Board does not change in both form and function, the school cannot survive

2. The Board needs to commit to ongoing training to learn What it means to be an
independent school and college board

3. The Board needs to stop being reactive The "ready, fire, aim” decision making process has
brought the school close to closure

4. The Board hires a President to run the school's day~to- day operations Board members
need to stay out of clay to day operations of the school and begin following the chain of
command if they need information to meet their mission.

5. The Board should recruit new board members outside of the alumni base.

6. All board members must be in a position to make significant gifts to the school and must
understand that their seat on the Board requires that they do so on a yearly basls.

7. The Board must develop and adhere to a plan to bring the faculty Salaries and benefits
to a level that Will enable the school to recruit for an increasingly short supply of
teachers

Overview

1. Valley Forge l\/lilltary Academy purports to be a competitive college prep school, yet the
programs facilities and services that lt offers have not kept pace With similar priced
independent schoo|s.

2. Valley Forge |\/ll|itary Academy is geographically well placed for both a small, college
prep, boarding and day schoo|.

3. The School cannot rely upon full paying international students to compensate for the

wmame

fact that nearly all the domestic students are heavily subsidized mostly through
unfunded tuition discounts

r community as much as possible

` 5. The school should investigate a five~day boarding pro r
6. Going forward, the Academy ne lre experienced independent school and college

professionals to run the academic and business sides of the school and Whose

 

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experience in fine independent schools and colleges reflects the caliber of the
experience of those running the military side. '

7. The Schoo| should investigate a one-year high school post graduate designed for

students to gain appointments to U.S. Service Academies and entrance to private four-
year military colleges.

Enro|lment

The school should carefully review the messages on the website, both intended and
unintended to ensure that they accurately reflect the mission of the school and the
parents that they hope to attract.

The Admissions Office staff needs to be trained in independent school best practices.

The School should find a way to bring admissions visitors onto the campus through
another g

The reregistration program needs be very different if it is to be used as a retention tool.

The college program needs to be studied so that a more cohesive student body can be
developed that reflects the mission of the school.

The college athletic program needs to be evaluated to ensure that the program is
mission appropriate and that it serves the needs of the student-athletes

Development

The development office needs to be staffed in a way that reflects their considerable
goals.

The board needs to begin to plan for a comprehensive campaign to fund initiatives
beyond the annual fund.

C|ient Experience

1.

Parents chose Valley Forge for their sons because of the military model. They are looking
for more order and discipline not less.

There is a great deal of satisfaction among the parents with the recent leadership changes

The school should look for ways to involve parents in the life of the school in support of
their sons

The school should empower the cadets to expand the weekend activity offerings.

 

 

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5. The School should put together a plan to begin to deal with the backlog of deferred
maintenance in the physical plant.

6. The athletic program needs to be studied to ensure that it supports not only the mission of
the school, but benefits the cadets as indivduals.

7. The Academy should consider recruiting teachers differently, utilizing independent school
channels rather than public school sources and actively recruiting veterans who are more
likely to understand and support the military mode|.

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Governance

The school will not survive if the Board continues in its present form and function. Valley Forge
l\/|i|litary Academy and College is a small independent institution with an endowment of
approximately $10 million that is far short of what is necessary to fund the school in times of
scarcity. Tuition, room and board is approximately $45,000. There seems to be, however no
strategic vision coming from the Board that gives any indication that they grasp this reality. An
independent school and college board has two major responsibilities:

1. To carefully choose and support the President who is in charge of the day to day operation
of the school.
2. To ensure the financial health and sustainability of the school.

Despite the Board members relatively kind self-appraisal as evidenced by the board surveys, the
board has failed in both of these responsibilities (See Appendix A)

While the recent hire of General Lord as President appears to be the right man at the right time,
the experience for the class of 2018 was more indicative of the Board's track record. The few
Cadets in that class and their parents who were at the school for four years experienced four
changes in the President’s office This ”ready, fire, aim” approach to decision making is one
hallmark of this board.

Enro|lment declined 40% at the Academy in the last five years. Relative|y steady enrollment in the
college came at the expense of decisions that resulted in a fractured student body and 98% of the
students receiving significant financial aid, much of it unfunded. Rather than study the problem
with the President and develop a strategic plan that would lead to sustainability, the Board
became overly involved in the day to day operation of the school. Several mid~level managers
reported a board ”in the weeds" without really being informed For a school that stresses the
military model, the board’s willingness to circumvent chain of command is remarkable Certainly,
there may be rare occasions when a board member needs to interact directly with a faculty or
staff member. in those cases, that interaction needs to be cleared first with both the President
and the Board Chair prior to the interaction. The exception may be the chairs of the development,
enrollment and finance committees who must interact with senior administrators in order to
prepare agendas for their committee meetings.

An example of the Board reaching into operations is the recent appointment of the Dean of the
Academy. The school desperately needs experienced independent school professionals to take the
Academy forward. Even if Dr. Lea was the right candidate the process of placing him permanently
in the position was flawed. independent schools do not replace senior leadership without a
national search. This is even more important at a time when the school is experiencing a downturn
in enrollment An inclusive, transparent process needs to be put in place by the President. |fthe
Board wants to suggest candidates, that is their prerogative as it is the prerogative of every
alumni, parent, faculty and staff member. But the process and the decision rests with the

 

 

 

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President. if he wants input for key hires, he can form a search committee Unless asi<ed, the
Board needs to remain in their lane

The Board has not executed its fiduciary responsibility to the school. The school is nearly $7
million in debt and running a deficit in this year's budget.

There are too many Alumni on the Board, Alumni always look at an institution through the lens of
what it was. in the case of the board, they are driven to volunteer to assist the school based on
the positive experiences that they had as cadets. The problem is that the Valley Forge is not going
to survive by looking backwards. What is needed is a new vision for a smail, independent, college
prep boarding school in the military tradition. That does not mean the loss of connection to the
customs and traditions of the school. For example, potential source of board members are service
academy graduates who have gone on to great success outside of the military after they have
completed their service These are people who would see value in the mission of the academy and
might bring a fresh perspective to the worl<.

The bottom line is this. The Board finally appears to have hired a President who understands his
job. i-ie has begun to assemble the leadership team that can address the issues facing the
Academy and the College. The board now has one short term priority: to give or get the financial
resources that will give the President the time that he needs to move the school into the 21St
Century and toward long~term sustainability. Once the financial runway is built, the Board must
turn its attention to an inclusive strategic planning process.

 

 

 

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The Academy

Valley Forge i\/lilitary Academy is a small boarding school for students in grades seven through
twelve This means that the market in which the Academy competes is the small independent
boarding school market whose target is parents with the ability to pay over $44,000 per year for
precollegiate education and are inclined to send their sons to school away from home it is a tough
sell for any school. Valley Forge's standing as a military academy is a double-edged sword. On the
one hand, there are going to be parents Who immediately reject the military mode|. On the other
hand, the school has a unique brand and niche that makes it one of the few choices like it in the
country. The website Boarding School Review, one clearinghouse for Boarding School information
for potential parents and students ( https:[/www.boardingschooireview.com/) Lists eighteen
i\/iilitary Boarding Schools in the country, ranging in size from 80 to over 800 students.

Valley Forge i\/iilitary Academy is shrinking.

_ v _ _ z ` _ Amt Percent
Grade7 Grade8 ; Grade9 §Grade 10: Grade 11 Grade 12 Total Change Change t

2013-14 16 34 60 ;_ 72 73 4 78 333
2014-15 _ l10 y 2_9} 41 68 671 ss l 233 -50 -15%'
2015-16 11 21 § 41 » 52 ; 64 71 260 ~23 -s%
2016-17 3 22 32 § 42 ; y 59 59 217 -43 ~17%
2017-18 s » 15 : 39 j 42 § 42 58 201 -16 -7%

` " Total -132 ~40%

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As of October 1, there were 201 Cadets enrolled at the Academy. This represents a 7% decrease
over the previous year, and a 40% decrease over a five year period. There are many reasons for
this. Chief among them was the fact that the Academy was not living up to its promises to parents
who sought the school for its commitment to teaching the five cornerstones: Academic Excellence,
Character Development, Personal i\/iotivation, Physical Development, and Leadership. Parents in
the focus groups reported little discipline, students cutting classes, disruptions in class, little
supervision of study halis, and reduced opportunities to participate in athletics.

lt should come as no surprise then that 63% of the school receives some form of financial aid,
much of it unfunded, effectively lowering the average tuition collected per cadet to less than
$28,000. The school cannot long continue to subsidize an average of $16,000 per Academy Cadet.

 

Like many American boarding schools, the Academy depends upon the recruitment of full paying
international students to help balance the budget and make up for the policy of heavy discounting
for U.S. Students. This is problematic. The competition for international students is fierce and the y
demand for mission appropriate international students for Valley Forge greatly outpaces the
supply of those students l\/lost parents of international students rely upon the assistance of '
agents to place their children in schools overseas. The parents of top tier students are concerned
first with the college placement record of the schools that they consider and the agents are keenly
tuned to the demands of their clients. Besides the Service Academies, which foreign nationals are
not eligible to attend, Valley Forge does not consistently place students in the brand name, high
profile universities that the parents of top tier international students demand. Because of that, the
school is not attracting those students Other factors impact the supply of mission appropriate
international students including:

 

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1. The increase of high-quality education at home Schools in sending countries such as China
are being built at a remarkable rate and the academic programs mirror those of top tier
U.S. independent schools Parents in those countries now have options that were not
available less than a decade ago.
(http://www.universityworldnewscom/articlephp?storv=20180209120222866)

2. The current political climate is not encouraging parents to send their children to the United
States when there are other more welcoming alternatives The Worid Education Service in
a recent article stated that:

The American Counci/ on Education (ACE) and 32 other higher education associations for
instance, submitted an amicus brief to the U.S. $upreme Court When the court too/< up
hearings on T/‘ump's latest travel ban in Apri/ 2018 that noted that the ban ”sends a clarlon
message of exclusion to millions around the globe thatAmer/ca’s doors are no longer open
to foreign students scholars lecturers and researchers.” lt ”jeopardizes the vital
contributions made by [these individuals] by telling them in the star/rest terms that
/-imerica is no longer receptive to them. ”

https://wenr.we.s.org/2018/05/latest-sevis~data~number~of-international-students»in~the-
u-s~is~declining

The Challenge then lies in attracting more full paying domestic parents to the school. This requires
a change in mindset. As enrollment has declined steadily, it is easy to blame increasing tuition as
the cause of the exodus. in fact, the problem does not lie with the cost. Tuition, room and board
at Valley Forge actually represents a relative bargain in the small boarding school world where
costs can reach well over $50,000. The problem lies with the value proposition. The Academy has
quite frankly not kept pace with the small boarding programs with which it competes in terms of
program, facilities services or outcomes Valley Forge Military Academy is a shadow of its former
self in terms of enrollment because it remains a mirror of its former self in terms of programs
facilities and services This will be discussed in greater detail in the section about the student
experience

The iVlarket

Valley Forge l\/iilitary Academy sits squarely in the middle of the eastern megalopolis that extends
from New York to Washington D.C. Within a mile of the campus is a train station providing reliable
transportation to 30th Street Station in Philadelphia where Cadets and their families can access
trains to New York to the north and Washington DC to the south. Several major interstate
highways pass within a few miles of the gates of the school. Simply put, the Academy is ideally
placed for a small boarding school. Given the geographic advantages investigating a five-day
boarding program makes a great deal of sense

The Academy also sits in the middie_of a prime independent day school marketplace Severa|
independent schools charging nearly the same amount for day school as the Academy charges for
boarding, including Episcopa| Academy and Haverford Schooi are thriving within a short drive of

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the Academy. The difference is that those schools have developed a reputation in the area for
academic excellence that the Academy does not enjoy. However, as the Academy's value
proposition increases the following graph indicates that there are over 8500 high school students
living in households with a median family income of over $106,000 in the school districts
immediately surrounding the Academy.

 

 

 

 

Conestoga Radnor Marple-Newtown Haverford tower Merion Upper Merion Total
Enro|lment 2062 1177 1165 1709 1440 1142 8695
Medlan Household income $121,687 $106,209 $82,596 $99,043 117,914 $80,419 $102,626

 

 

 

 

 

 

 

 

 

 

The Academy could begin outreach to the community by publicizing events on campus like

4 parades and concerts They could also organize community appreciation events that will enable
members of the local community to be on campus and interact with the Cadets in less formal
way.

The Academy should actively publicize in the local market its success rate placing graduates in
the Service Academies. A significant number of students and parents in both the boarding and
day school markets would be interested in a school that was a conduit to the Academies. A
curriculum designed with Service Academy admission in mind would appeal to both students
currently attending high school as well as those who need an extra year of high school in order
to improve their record for admission

The l\/iarketing and Communications Overview contained in Appendix A provides an in depth
look by the Healey Director of Communications, Valerie Asuncion, at the marketing effort of
both the school and the college She is impressed by the work produced by i\/|ary Heiler and
believes that the ”Leaders at Every Level” will resonate in the educational marketplace There
are a number of questions however the essential question is this:

ls your Well~oiled machine on the right track? Have you agreed across the organization about
whom you are trying to reach and what you are promising them?/-ire you answering the right
questions for the prospects most likely to buy what you’re selling?

As an example of a well-oiled machine on the wrong track, a look at your website reveals the
following clear messages:

1. The School is not marketing to full paying parents The opening photo on the website's
homepage tells the reader that ”Val|ey Forge l\/iilitary Academy awards more than $4
million in scholarships and financial aid annual|y.” That message is not directed at the
people who can afford to pay $45,000 per year for precollegiate education. lt signals
that Valley Forge is expensive and the school understands that they have to soften the
biow. it also tells potential parents that they can come into the school expecting not to
pay what it costs

2. This is not really a college prep school. The second page of the website says that 95% of
the class of 2017 went to coilege, while 3% joined the military and 2% entered the
workforce Those would be impressive numbers if the school were a comprehensive

 

 

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public high school. lt's a tough sell for a parent to pay nearly $200,000 over four years of
education for their child to join the Army.

Academy Retention and Recruitment

Like many of the people in positions of authority at the Academy, the Director of Academy
Admissions had no experience in independent school admissions prior to taking the job. Because
he is well organized, committed to the mission and has the requisite skills to be successful
promoting the Academy. The Academy should invest in training for him. The Association of
independent School Admissions Professionais ( https://www.aisap.org/home ) provides resources
for both new and experienced admissions professionals

l\/iarketing to Fu|l Pay (http://www.marketingtofuilpav.com/ ) is run by Claude Anderson, Dean of
Enro|lment at Northfield l\/lount i-ierman School in l\/iassachusetts. Generally recognized as one of
the top independent admissions professionals in the country, Claude runs workshops periodically
around the country.

Reregistration is not well handled at the school. lt should therefore not be surprising that
retention has been an issue Reregistration begins in l\/iarch with an email to parents requesting
that they complete online course registration with their sons There was a follow-up email every
two weeks subsequent to the initial email blast. The Dean of Enro|lment then spent the summer
contacting any parent who had not reregistered. This is a bad system on lots of different levels

1. in a college prep school, the Cadet’s academic advisor or college counselor should work
with the Cadet to ensure that the proper courses are being taken. That's what parents
are paying for.

2. in a school that is experiencing retention issues the process should be happening much
earlier. if a parent is considering leaving the school, the school needs to know that long
before they fail to respond to a couple of emails in i\/larch and Apri|. By that time, there
is one month of the school year to address issues

3. if course selection does not begin until l\/iarch, and continues through the summer,
staffing for the new school year can't be properly pianned.

The Academy should consider the following revised procedure:

1. The Course selection process should be completed by each Cadet with his academic
advisor or college counselor by February 1.

2. The advisor should set a phone appointment or conference with the parent to apprise
them of the course selection.

3. The advisor will then hand the parent the contract for the coming school year with a March
1 return deadline

4. lncentivize parents to return their contracts on time by offering a reduction in the
registration fee for contract returned by i\/|arch 1

5. On l\/larch 2, phone calls are made to parents who have not reregistered to determine the
cause Those calls should be coming from either the President, the Superintendent, the
Commandant or the Dean of the Academy.

 

 

 

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Recruitment

0n 0ctober 10, a member of the Healey Education Foundation Staff called the Academy
Admissions office and conducted a secret shopper interview. The results were mixed. The call was
answered by Anne Brennen. Her approach was courteous polite and welcoming, there was little
to connect the caller to the school. The caller was not asked about her interests and needs She
wasnot asked how she heard about Valley Forge When asked about a tour, she was informed of
the Open House on November 10 and directed to register online When the caller asked about day
vs. boarding, she was told that it depended upon the needs of the parent. Yet the caller Was never
asked to define those needs and, as a result, the caller did not get an important question
answered. She was then directed to the website for more information There has not, as yet, been
any follow-up.

When a prospective parent calls the school, the office must assume that they have read the
website lt is up to the admissions office to determine:

1. How they heard about Valley Forge. The answer to this question can help to determine
the effectiveness of various marketing efforts

Z. What interests the prospective parent about the Academy. This can help to direct the
parent to people on the campus who can assist in recruiting the new student.

3. When are they available for to visit the campus Directing a parent to an Open House is
not necessarily a bad thing. But rather than sending the parent to a website to sign up
online, the'question is, ”iS November 10 a good day for you? if it is let me sign you up for
our Open House." Then a follow-up card or email to confirm attendance is in order as is a
follow-up call after the event. if the Open House is not convenient, ”When is a good time
to schedule a visit to the campus for you and your son?"

Admissions is sales And the admissions staff needs to understand that every callis an opportunity
to sell Valley Forge.

The College

The College suffers from an identity crisis The college has four identifiable groups in one
institution and they often perceive that they have conflicting interests

1. The Early Commissioning Program students are committed to service in the United States
Army after graduation. They wear uniforms that are different from the other members of
the corps and, because of training commitments are not generally part of the Corps
leadership

2. Members of the Corps of Cadets are full time students who live on campus lt is from this
group of students that the Corps leadership comes

3. Commuter Students are not part of the corps Rather they live off campus and come to
school for class _

4. Athletes are generally recruited to play a sport at the school. Athletes can be either
commuters or members of the Corps. Some hold leadership positions

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Virtually no college student pays the full tuition, room and board. Early Commissioning students
are paid for by the Army. Athletes receive full, unfunded tuition scholarships l\/lembers of the
Corps and commuters are often provided financial aid, both funded and unfunded. This does not
mean that the cost of education is covered. A significant number of students many of them
recruited athletes take out significant loans in order to cover their expenses at the school. lt is not
uncommon for a student to graduate from Valley Forge with $40,000 in debt. That's not
defensible

On paper, Valley Forge i\/lilitary College costs over $50,000 to attend. That's actually a tough
number to find. The only way that i could find the full cost of tuition, room. board and books was
to fill out the form on the webpage and providing a great deal of information. Given that the
fictional parent who filled out the form was from a family of four making $65,000 and living in
Pennsylvania, the net tuition came to $37,000 after a $15,000 grant in aid. That's a hefty price tag
for a junior college By comparison, an academically talented student whose family makes $65,000
would be fully funded at the University of Pennsylvania with no loans expected.

The College is simply not sustainable in its present form. Except for the Early Commissioning
Program, there is no value proposition. if the cybersecurity program operated in a state-of-the-art
facility, there may be a case to be made for attendance in that program, but not at a price that a
student would be asked to pay ata top private four year university.

The athletic program is a financial drain on the college with little return on investment The
athletes are actively recruited, often without the involvement of the Admissions Office. l was told
by the Senior Director of Admission that it was not uncommon to see a coach escorting a recruit
on campus without having that recruit come through the Admission office When an admissions
counselor finally does get the opportunity to talk with the recruit and discuss the military
obligations in the Corps of Cadets they hear things lii<e, ”The football coach told me | wouldn’t
have to do all that stuff." lt should come as no surprise then, that the athletes are generally not
model cadets although some do buy into the program after they arrive and more than one has
risen to a position of authority within the corps

The school needs to study its entire athletic program to ensure that it meets the needs of the
athletes as well as filling seats at the college The facilities and program are not conducive to high
powered junior college athletics College football players for example, typically gain muscle and
weight as a result of highly developed weight room workouts and increased calories in the form of
training tables with large quantities of protein rich meals The football players that l spoke to at
the focus group are losing weight. This is a result of a high carb diet with insufficient calories and
missed meals due to a rigid meal schedule that often finds them with |eftovers or no food at all by
the time they get out of practice `

The commuter program was implemented as a way to increase enrollment without a lot of
thought as to how it would affect the Corps of Cadets Whi|e there may be a way to effectively
implement a commuter program at a military college, the program is going to take a great deal of
time and study to get right. it would be worth the College’s time to do that.

As is true in the Academy, people have been placed in positions of authority at the college who do
not have the experience or training to do theirjob. The Dean of the College is very bright,
understands the inner workings of the college better than anyone on campus has a passion for

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the mission and is completely underqualified to be the Chief Academic Officer at a $50,000 per
year academic institution. She has never taught at the college level and holds no administrative
degrees or credentials

The Dean's appointment as well as the Senior Director of Admission’s appointment are the result
of hiring practices that devalue the academic program of both the Academy and College. They
were both promoted to the positions they currently hold from junior level positions in the college
in the case of admissions she was virtually the last woman standing when her boss left his
position with no notice in the middle of the night. lt's hard to imagine on the military side of the
school, a junior TAC being promoted to the Commandant's position.

The result is a fractured program in the college that needs to be fixed.

 

 

 

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Development

The development office was rated 0-5 on the following ten key performance indicators A 0
reflects no evidence of the performance indicator and 5 reflects an overwhelming strength. The
Ratings and reasons for those ratings are below:

1. The school has a work plan including clearly defined job descriptions and documented
role responsibilities for all members of the office?

Score: 4

The development office is well managed and has a work plan that outlines the
development goals for the year and the path to achieve the goal. The Vice President of
Advancement has worked with a steadily shrinking staff to ensure that all of the work
necessary to achieve the goals is being completed

2. The development program is staffed and funded to meet fundraising expectations?
Score: 2

The development office is grossly understaffed for the size of the goal that they
consistently are given. The Staff with a goal of annual goal this should should at a
minimum include:

0 The Vice President for Development

- A l\/iajor Gift Officer pursuing gifts above $25,000 and planned gifts

0 An Annual Fund Director ensuring that the Forge Fund reaches goal and feeding
prospects to the Vice President and l\/lajor Gifts Officer

o Alumni Director who coordinates all alumni outreach and plans alumni and
executes alumni events

o A Development Assistant who takes care of gift entry, stewardship and the
donor management data base

¢ A Development Assistant who functions as administrative assistant for the Vice
President and l\/lajor Gifts Officer as well as providing assistance as needed to the
Annual Find Director and the Alumni Director.

Development is one of only two revenue streams to the school. As of this writing, the
Forge Fund stands at 28% of goal. This is one example of literally being penny wise and
pound foolish. Fully staffing the development office, given the management of the
program will no doubt lead to increases in attainment

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Development communications are sufficiently financed to meet the fundraising
expectations and consistent with the school’s message and branding?

Score: 3

Development Communications are improving. Collateral materials are being produced
that will support the school’s development efforts

An identified staff member, with involvement in planning the school calendar,
controls all fundraising activities, including other internal or external campaigns?

Score 4

The development office would like to coordinate all fundraising activities, but their
efforts are not always successful. Athletics is one area where the solicitation of gifts is
not always well corrdinated. The Vice President should be firmly in charge of all
development efforts

. The office has a plan for moving donors through the gift pipeline towards greater
support, while simultaneously tracking and replacing those who move to a new level?

Score: 2

in a mature development operation, the Annual fund manager is able to analyze giving
data as well as do prospect research on a broad range of donors. Because current
staffing does not provide the time necessary for.that to happen, it is difficult to tailor
annual fund solicitations for anyone other than the major gift prospects

Does the development work plan

focus on increasing total donors?

use gift bands ($1-$100, $101-$250, etc.) as a metric to broaden the base of the donor
pyramid?

provide incentive to find lost alumni?

ensure appropriate attention to acquiring new donors

While gift bands exist for the Forge Fund, staffing restrictions preclude some best
practices from being put into place, including working to move donors from one level to
the next and systematically increasing the donor poo|.

Score: 3

Does the office provide programs and events that engage and cultivate alumni,
parents/grandparents, corporate donors and philanthropic organizations?

Score: 3

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The office does provide programs and events to engage parents and alumni, lt may be
possible to use existing school events, such as parades or concerts, to target donors
from the community.

8. Does the office have accurate information (demographics, employment and interests)
on school alumni, donors and prospects to effectively target and engage them?

Score: 4

The School uses eTapestry for prospect management This is a sophisticated program. |n
order to get the most out of the investment in this too|, it is necessary for a staff
member to have responsibility for management of the database. Current staffing does
not allow that to happen.

9. Are the Board members knowledgeable about the fundraising process and the roles in
the organization?

Score: 2

One of the Board's primary functions is to ensure the financial viability of the school.
While some on the Board understand that role and in addition to giving generously,
assist in identifying or cultivating donor prospects for the school, most do not.

10. ls there a direct communication and relationship between enrollment, marketing,
academic and other administration support functions to assist in the fundraising
needs and efforts?

Score: 4

The Vice President for Development works closely with the marketing and
communications team to ensure consistent messaging across platforms and on
collateral materials

Tota| Score: 31

The development office has a heavy lift on an annual basis. Two things make this possible. The
first is the strong management and major gift cultivation by the Vice President for
Development. The second is the strong relationship between the Vice President and the
President. The President understands his role in development and he looks to the Vice
President to set the table for solicitation of major gifts.

The problem is that without careful strategic planning, year after year the development office is
simply plugging a hole in the bottom of the revenue bucket. As the Board begins to think
strategically, part of the plan needs to include a comprehensive campaign that wi|| enable the
school to address infrastructure needs as well as fund such initiatives as financial aid and
program development.

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The Parent Experience

Parent surveys reflect a great deal of satisfaction with the program, particularly with the
leadership changes that have recently taken place. (Parent survey results can be found in
Appendix B.) There is support for the direction of the school and the renewed emphasis on
discipline and accountability in the Corps. The parents in the focus groups expressed similar
sentiments. They cited examples in the past of cadets not held to account for being disruptive in
class or cutting class complete|y.

in the focus groups, more than one parent expressed frustration at the lack of opportunities for
parent involvement except for fundraising events. They also expressed frustration at having to
choose between going and watching their sons play an away game on Parents' Weekend or going
to the Friday night parent event. Since they could not do both, they chose to support their sons.
This is such an easy thing to fix. On a big weekend like Parents Weekend, no team should be
playing away. Standard independent school best practice is to schedule games for all teams at
home and staggered so that all athletes have the chance to play in front of a crowd.

/-\ word of caution about all of the support. As pointed out in the enrollment section, the school
has not kept pace in programs, facilities, and services with other small boarding schools, One
example of this is the advertisement of tutoring services and academic support on the school’s
website, |f you are asking parents to pay $1250 a week to go to school, they have a reason to
assume that is an all-inclusive price. Faculty members should be providing office hours during the
day so that students can get extra instruction, if they need it, at no additional cost. To the faculty's
credit, 60% of the faculty rated the accessibility of extra help a 4 or 5. Less than 13% rated this a 1
or 2.

Given that the faculty appears to be handling the majority of the extra help issues in house, it
makes sense to remove the tutoring ads from the website. l\/lost independent schools keep lists of
qualified tutors for the rare case that the faculty member charged with teaching the student
cannot meet the needs, for example in the event of extended absence. They then share the names
with the parents on an as needed basis.

The Student Experience

The perception is that the college students choose to be at the school while the Academy students
are sent there. There are lots of reasons that a boy might choose to attend VFi\/lA and a parent
may consent to send him. The school should be explicit about what those reasons might be. Of all
the competition, nobody does this better than the Army and Navy Academy. Their website is
worth a look ( https://armyandnavyacademy.org/). They emphasize school first. Parent and
student testimonials are weaved throughout the website and interesting articles about the
advantages of boarding school, single sex education, and a military education are found on the
admissions pages. The cost of the school is readily apparent

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The physical plant is impressive at first glance. Unfortunately, for many visitors the first g|impse of
the Academy is through the back door. The Admissions office entrance is accessed by a service
road that runs at the very back of the campus Once inside, the buildings appear dated and poorly
maintained The barracks do not appear to be much changed for decades The dining hall is not an
inviting place to eat. The classrooms all have a metal grate covering the windows on their doors

A new coat of paint is relatively inexpensive and can work wonders in updating the look of the
space. Cadet labor, either volunteer or forced, can be put to good use. But the school needs to
figure out a |ong~term plan for updating facilities 21st Century Boarding Schools do not look like
20th century boarding schools,

Academy athletics is an issue. The inability to consistently field teams is going to cause students to
leave. At the middle School leve|, the creative solution of finding a way for an eighth grader to play
soccer in the local recreational league could be expanded to more students in more sports This is
also an area where a program designed to place high school students and high school post
graduate students into Service Academies and other private military colleges could help the
school. Those students tend to be athletically inclined and if the same effort is placed into bringing
them to campus as is currently placed on recruiting junior college players, the Academy’s stock is
likely to rise.

The Academy and College are both primarily made up of students who live on campus Yet there is
very little for Cadets to do. Vermont Academy is a small boarding school in the middle of nowhere
in Saxon’s River, Vermont. Their website ( https;//www.vermontacademy.org/page/student~
lifelresidential~life) provides the following overview of the weekend program:

50 what happens on the weekends? ln a Word, plenty. /n addition to our annual events li/<e Winter
Carniva/ and Casino I\/ight, there are dances, concerts theatrical productions vol/eyl)al/ games and
outdoor fires in our Nic/< Grout '03 Memorial Fire Plt. Off-campus activities can include hil<ing and
camping trips as well as athletic and cultural events such as lacrosse games at Dartrnouth
College, or B/ue Man Group in Boston. Trips to the mall and visits to Bur/ington can also be found
on the weekend schedule ll/lost Weel<ends include Saturday night at the movies and, during the
winter, Sunday skiing and snowboarding at Stratton or O/<emo mountains

This is the range of activities that boarding school parents and students expect. On a recent visit to
the campus l came across the schedule of activities for October. They consisted of a bus to the
King of Prussia Mall on each Saturday. The Cadets expressed frustration with the lack of activities
available to them, particularly on closed weekends when they cannot leave the campus One
cadet talked about looking at old yearbooks and seeing dances, clubs and activities that are no
longer part of the program. The Corps is supposed to be Cadet led. The Academy should consider
having Cadets organize clubs and activities, both on and off campus, in which their peers could,
with adult supervision, participatel

A school is only as strong as its faculty. As teacher vacancies occur, by requiring teaching
credentials the school is searching for candidates from the same sources used by the public
schools This is almost certain to provide candidates who are neither committed to the military
model of education or likely to stay at the school once a higher paying public school opening
occurs The result is that the quality of the faculty is uneven at best. A public school mentality
permeates Faculty members are hard to find on campus outside of school hours

17

 

 

 

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Because there is an expectation that independent school teachers will contribute to the life of
the school outside of the classroom as coaches and club advisors the school should recruit
faculty the way that independent schools recruit. Rather than being concerned with a teaching
certification, independent schools seek graduates from strong colleges and universities with
degrees in the subject areas of need. Because of Valley Forge's unique place in the market, it
might also actively recruit veterans who may be interested in teaching and coaching but are not
interested in pursuing a teaching credential. These people would be more likely to understand
and support the military model outside the classroom.

By the same token, the school must demonstrate a commitment to the faculty. The Board must
develop and adhere to a plan to bring the faculty salaries and benefits to a level that will enable
them to recruit for an increasingly short supply of teachers l\/|any small boarding schools house
a majority of their faculties on campus This helps to build community. 0ne possibility is to
renovate at least a portion of the currently closed dormitory and convert it into faculty
apartments

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lN THE MATTER OF VALLEY FORGE lVllLlTARY ACADEMY
|NDEX OF LETTERS/AFF|DAV|TS FROlVl PARENTS (4-1-2019)

l\/|emorandum of Record of Nestor Barreto dated 3-20-2019
Affidavit of Allan C. Booz dated 3-25-2019

Letter from Tammy Coulston dated 3-22-2019

Letter from Debbie Daniels (undated)

Affidavit of Diane Daulerio dated 3-24~2019

Letter from l\/lary Dillard dated 3-25-2019

Affidavit of Katherine S. Diorio dated 3-22-2019

Affidavit (email) of Craig Farmer dated 3-21-2019

Affidavit of Elana Yaron Fishbein dated 3-21-2019

Letter from Walter l\/|. Franke dated 3-21-2019

Letter from Naomi Freeman dated 3-21-2019

Letter from Kimberly Graham dated 3-21~2019

Affidavit of Amy Howe dated 3~23-2019

Affidavit of l\/|argaret Howlett dated 3-21~2019

Letter from Rebecca A. Hall and T. l\l|ax Ha||, ill dated 3-20-2019
Affidavit of Howard Kapustein dated 3-24~2019

Letter from Shannon Koebbe dated 3-21-2019

Letter from Beth l\/larotta dated 3-22-2019

Declaration of i\/|ichael D..l\/lisooe and Susan K. l\/|isooe dated 3-25-2019
Affidavit of Kristin l\/|oore (undated)

Affidavit of Scott K. Newell dated 3~20-20“| 9

 

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Affidavit of l\/lark Oskowiak dated 3-22~2019

Affidavit of Kathleen l\/lcCa|l Readinger dated 3-21-2019
Letter from Keith and Sylvia Reihl dated 3-21-2019
Affidavit of Francis B. Reyno|ds dated 3-25-2019

Letter from Casey Wi|liam Roe dated 3~21-2019

Letter from Patricia Sacchetti dated 3-21-2019

Affidavit of Jeannie Sandy dated 3-21-2019

Letter from Suzanne Zigo (undated)

 

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LTC (R) NESTOR BARRETo
2900 Elizabeth Champion Court
Wimamsburg, VA 23 iseg“’
(757) 775-1972

E»mail: LTCNICKBARRETO GMAIL,COM

March 20, 2019

MR. THOMAS LENO
Legal Counsel> Valley FOrg€ Military Academy & College (VFMAC)
Parents Representative

Memorandum for Record: 2018/ 19 Academy Cadet Enrollment Status

The purpose of the memorandum is to let it be known that our family will delay
reenrollment of our son, J ay Barreto, until such date when Major General (MG)
Walt Lord is reinstated as the President of VFMAC. In the event the VFMAC
Board of Trustees (BOT) fails to secure his return per the concessions specified in
his letter of resignation submitted to the BOT, our son will come home to VA to
finish high school elsewhere. This is not our desire endstate, however, we do not
believe VFMAC can remain financially solvent without the credible and proven

leadership rendered by MG Lord these past ten months

In 2017, as parents of an out-of-state cadet, we bought into MG Lord’s vision for

significantly improving VFMAC daily operations and plans on future initiatives
In our opinion, ever since becoming the face and voice of VFMAC, MG Lord has

consistently provided steadfast leadership and guidance towards such an end with

outstanding results

Respectfully,
wmi THE ARMED Foacas ATJorN'r BASE
LANGLEY-Eusns, vA 23665

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Re: Leadership l\/lajor General Walt Lord
March 25, 2019

l am the parent of Gavin S. Booz i\/ledical Sgt. Valley Forge Military Academy and College
(VFi\/iAC)

8th Grade Academy cadet, 14 Years O|d

Field Music

l\/ly son's residence is 29 W. l\/lt Kirk Ave Eaglevi|le, Pennsylvania 19403

The current status of the Board of Trustees is crippling the advancement ot VFMAC. And as the
parent of a 2“d year cadet planning for the next school year we are being misled by the current
procedures and questioning the ethicality of the Board of Trustees in their decision making

if l\/lajor General Walt Lord is not reinstated, we will not reenro|l our son and continue to support
VFMAC.

Major General Lord sets the tone at Valley Forge. while there are many that make this team of
people worl<, he provides a standard of excellence that is second to none. l\/ly son is inspired
this year in a way that is extraordinary in comparison to his first year at VFMAC. Gavin is
sought out by administration as a leader among his peers. Gavin is fortunate to have been
encouraged personally by lvlajor General Lord and every single time i\/lG Lord models this
character. These gestures have changed the course of Gavin’s life and faith, empowering him
to rise up to challenges; by raising expectations MG Lord has an outlook and vision for
VFMAC that can have far reaching effects given the ability to do the job he was hired to do. He
is steady voice on social media and recruiting new students The numbers are real and on
paper. MG Lord is impeccable with his word and has ensured answers When there are
questions and concerns

iVlajor General Lord has created an environment of integrity and great morale. He has made
himself available and reached students on a daily basis, making sure to eat with them in the
mess hall and invite them to events as well as opening his home to parents, clubs like
community service and regimental band students of Which my son is a part. Gavin has been
inspired by l\/lG Lord and his vision and possibility for Valley Forge Military Academy and so am
l as a parent. Gavin shares his positivity and pride vehementiy With our community

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Ailan lC. Booz/

29 W. l\/lt Kiri< Ave

Eaglevil|e, Pennsylvania 19403
215-669~7055

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COMMONWEALTH OF PENNSYLVANlA

NOTAR|ALSEAL
Larry L, Brown. Notary Publlc

East NorrltonTwp.. Monlgomery County

My Comm|aslon Expire_s_ April 310. 2021
iiinaen. PENNSVLVMEMWHE§

   
 

 

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l, Tammie M. Couiston, personally appeared before the undersigned notary public make the following
statements:

Our son Matthew Sean Coulston, age 15, grade 9, attends Valley Forge Military Academy for the 2018~
2019 school year.

Our address is 60 Slmmons Creek Lane, Enola, PA 17025.

lvlatthew was enrolled to attend Carson Long Military School ln New Bloomfield, PA for this school year.
The school was unable to continue operations because of low enrollment and finances. Due to the referral
from Carson Long, we enrolled Matthew at VF. We met lvlajor General Lord in August at the return of
school. He clearly communicated his vision for the upcoming school year. l-lis vision is exactly what we
expected a military academy to represent. We were encouraged that Matthew would be a part of a school
on the rise with such strong Ieadership.l

if ivlaior General Lord is not relnstated, we will need to reevaluate whether our son i\/latthew will return
for the upcoming school year. |f the administration removed military aspects from Valley Forge Military
Academy or enrolled students as non-cadets, we would withdraw our son.

Sincerely,

Tammie ivi Coulston

 

     
     

March 22, 2019
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LTH or= PeNNsv
NOtC`rj NorAniALsEAL LVAN'A

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Personal Affidavit

RE: MG Walt Lord and VFMAC Leadership

My name is Diane Daulerio. l currently have two sons at Valley Forge Military Academy and College.
Mlchael is a cadet in the college and part oi the ECP Program. He is also the Regimental 53 in the Corps
of Cadets. i\/latthew is a cadet in the 11th grade at the AcademyA

l\/latthew started at VFMA as a sophomore. To say there Were problems Within the school Would be an
understatement As the school year was quickly corning to an end, l knew l could not trust the school
with my son for two more years. Enter, lle Lord.

While sitting in the Lobby of Shannon Hail after conferences in April, General Lord and his wife Grace
were taking a walk around and noticed me there. They introduced themselves and asked how l was.
What they thought was going to he a quick exchange turned into an hour discussion And it didn't end
there. The passion, desire for change and commitment to the school exuded from him. His plans and
goals for the school were everything l had originally thought the school would be. Through open
communication and full transparency of his ideas and thoughts, l entrusted VFMAC with my son,
Matthew, and he returned in the August for another year.

They say what a difference a year rnal<es. in this case, What a difference a few months made. The
changes were obvious and positive on so many levels on the campus. | was so pleased with our decision
to keep our son at VFMAC and to receive his High School diploma from this institution in addition to the
positive "vibe” on campus, Walt made it a point to know each cadet by name.

Fast forward to the present. l have seen how this school operates as a whole without the leadership of
lVlG Lord. And l have no intention on bringing l\/latthew back for his senior year should l\/lG Lord not he
reinstated l\/lG Lord is the reason for my check to VFMAC. Knowing the BOT does not put our cadets'
education and future as theirfirst priority is frightening and leaves us with no confidence lt saddens me
to think l have to move my son for his senior year, but even he does not want to attend it l\/lG Lord is not
there.

W~ XOM 3/;1#/61¢)/ §

Diane Daulerio §W @\+\` H%CWW‘EV(

1023 Linden Avenue

 

commonwealth olPennsylvanla~ Nora Se l
’ SWATlAGARW - 'ry d
Chester Spnngs, PA 19425 omc;§c:|o;gypub"€
My Commisslon Exnlres Feb 6, 2023
Commisan liumber 13459 is

 

 

l\/ldauleriol@comcast.net

 

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01254:50 p.m. 03--25-2019

Mrs. Mary Dillard

421 Hutchinson Street

Hamilton, NJ 08610

(609) 743'8393 Cellular

Dillards421@mail.com or nyenlcins4@bloontberg.net

 

My name is Mary Dillard I am a Afrlcan American mother who have been an
employeeer 18 years at Bloomberg, LLP. in Manhatten, New York. Michael
Bloomberg was a Eagle Scout. As a employee, I have the ability to recommend
“Valley Forge" on the employee philantlu'opist list Michael'Bloomberg is a strong
believer of “giving back organizations” as he is a a philanthropists. I have two
(2) boys ages twelve (12) Jordan and James age (15). I am writing on behalf of
my son James Devin Dillard, III. James is a Sergeant in the 9"1 grade.

I am writing regarding my disappomtment of the BOT. I am sending this affidavit
for my family as well as the families of MANY who are very unhappy with the
BOT actions; BOT communication efforts with the parents/cadets. I am writing

. expressing my disappointment of the removal of MG Lord. I am conwleting this

affidavit requesting the return of MG Lord

I strive to give my sons the education.ihey deserve they are active on open
weekends attending Kappa Knights; we are members ofJaclc and Jz'll I am also a
member of the Urban League and National Congress of Black Women. I was
considering sending my youngest son Jordan to Valley Forge for his 71'1~12*h
experience Den‘iclc Frazier and I discussed this several times and can attest to
my enrollment options. Upon learning the dismay of MG. Lord I have
reconsidered my dects ion. MG Lord changed the dynamic of the school. Mr. Lord
connected with the parents and the students. Mr. Lord worked with all cadets
spiritually, socially, emotionally The diversity at Valley Forge made a great fit
for James. My sons never attended public schools, James graduating class
consisted of twenty ciassmares within a Chrtstrari environment prayer:
academics; hard work; good behavior was expected on. all students upon
graduation. James behavior was never an lssue. WM Lord spoke too him as a
adult; treated him with respect He adoer the level of respect which was given
to him by MG Lord

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RONALD J HORNAK
Mary Dillard Sta{\;ota W J‘
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01:55:05p.m. 03~25-2019

Mary Dillard
Page 2

 

Valley Forge met the same values as his prior middle school. When we visited
the school a plague caught my eye "Welcome to Valley Forge Where the
finest Young Men attend the Finest Military Academy and Junior College
in the United States" Class of 1986".

The plague represented the loyalty within the graduates. The brotherhood; the
giving back too the Institution and the core` values it stood for. Fellow alurrmi
(Walker Palmer) referred us to Valley Forge who is now an attorney. During
James first si>c (6) weeks he was promoted to Sergeant; James learned
leadership skills; James learned to manage his time away from home,'_ James
learned discipline I am a testimony that my son would not have made the
changes he made without the direction of MG Lord. MG Lord has spoken to me
' on several occasions regarding James’ improvement The personal approach he
had on cadets on the campus kept them motivated; encouraged,' eager to be at
school eager to be at Valley Forge. His motto #School on the Rise still stands.
His Wednesdaus with Walt showed progress every week not every auarter; not
ever semester. James and many of his classmates are slowly losing faith in
there school. My confidence of the members of VFMC Board of ’lrustees (BOT]
future for the Academy is questionable Twenty;five boys left on a closed
weekend so they would not have too participated in the parade The TAC officer
advised his dismay because of the lack Qf structure of the academy. The
financial hardship of boarding school with the added stress of BGT decisions?

Myself along with the many other parents of this Academy/College requesting
that you reinstate MG Lord. The BOT actions removing him are very unsettling
As 1 search for high schoolser my soon too be 7th and 10th graders if a decision
is not made promptly It heart breaking too know what could have been for my
boys future I would like to end on this statement Class of 1986 "Welcome to
Valley Forge Where the finest Young Men attend the Finest Military
Academy and Junior College in the United States" Class of 1986 ”. Thank
you for your time.

Sincerely,

 

 

 

 

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personal Affidavit

RE: Leadership of NlG Walt Lord

lVly cadet's name is Joseph Thomas Dlorlo. Cadet Diorio is 18 years old and is a freshman at Valley Forge
Mllltary College (VFlVlC).

lVly son's residence ls 805 Edgeworth Court, Red Llon, PA 17.356.

lVlG Lord embodies the cornerstones of VFlVlC: academic excellence, character development, personal
motlvatlon, physical development, and leadershlp. As the mother of a cadet, l have witnessed the
transformation of my son from a reliant boy searching for a purpose to an independent person who ls
preparing for a future. During the first semester, l expressed 2 main concerns with the education and
atmosphere at VFMC. l emailed l\/lG Lord dlrectly, as l had been instructed to do. lVlG Lord immediately
responded to my communications with a plan to support my cadet. A|umni, statf,‘and fellow cadets
were mobilized and_commltted to the success of my son because of my direct communication with l\/lG
Lordl in 8 weeks, with the unwavering dedication and support from VFMC brothers, Cadet Dlorlo's
grades have improved, he has attained leadership status, established personal and professional goals,
and has engaged in activities that support VFl\/lC. There are many individual people who l can express
my appreciation to; however, my gratitude belongs to the collectivism of the VFl\/lC corps led by l\/lG
Lord. The alumni and cadets are dedicated to VFl\/lC and the leadership of l\/lG Lord, which has sparked a
renalssance of corps values on campus. Thls devotion t'o developing men of purpose, perpetuated by
lle Lord, is apparent in the changes l have witnessed in my cadet. Shou|d my son and his cadet brothers
become alumni of VFMC, they will be on a trajectory for success that leaders like NlG Lord embody
through servant leadershipl

lt MG Lord is not relnstated, l Will not be sending my son to VFMC for his second year. l have no
confidence that any members on the VFMC Board of Trustees (BOT) had the cadets’ best interest in
mind When MG Lord was dismissed lVly convictlons pertaining to the BOT Was further strengthened
when l Wltnessed thelr revisionist history of events portray l\/lG Lord as one Who is not dedicated to
VFMC. lVly cadet, nor my financial resources, will support an institution which promotes character
assassination and engages in questionable fid uclary practices.

  

Katharine S, Dior o

- 805 Edgeworth Court
Red Llon, PA 17356
717~586-5819

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Katledlorio@hotmall.com This 22

Dlorlol<@rlasd.net

 
   

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_ Case 2:19-cv-01362-.]HS
3/21/2019 l "
Me .
From: Craig Farmer"<craigdowntown@gmail.com>

To: Craig .<dtsripZ@aol.cpm>
Date: Thu, Mar 21, 2019 12:35 pm

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AOL Mail ~ Message View

 

 

 

 

AFFiDAVlT
Dated Thursday March 21. 2019

My name is Craig Farmer. | reside in the state of Pennsylvania.

 

l am a parent of a first year junior year cadet. Darren Farmer. He is 16 years old.
We decided collectively as-a family to enroll our son at Valley Forge Military Academy because`of our belief in the Valley Forge "product" presented to us by Generai Walter

Lord and his vision for the institution.

Since his enrollmentl this product had been substantially altered by the actions of the Board of Trustees.

This alteration has forced Generai Lord to turn in his resignetion'.

As a resuit. l have decided not to re-enroli my son to VFMAC next year unless the conditions made and presented lo the BOT for Generai Lord's reinstatement have been met
l wiii be withholding any tuition, deposits for such, and course selection until this lime of reinstatement '

Respectfuliy, _ h
Craig Farmer
19 Congress Court

Quakertown, Pa 18951
267-221-7570 '

 

. https://mail.aoi.com/wet)mail-std/en-us/basic# '

 

 

Commonwea|th oi Pennsylvania - Notary Seai
KAREN V CAl’PUCClO ~ Notary Public
.‘ Bucks County .
My Commission Expires Nov 20, 202
Commission Number 1341977

 

 

 

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Affidavit of Eiana Yaron Fishl)ein

STATE OF PENSVLVANIA
COUNTY OF MONTGOMERY

The undersigned Eiana Yaron Fishbein, being duly sworn, hereby deposes and

1. I am over the age of 18 and l am a resident of the State of
Pennsylvania. l have personal knowledge of the facts herein, and,
if called as a witness, could testify completely thereto.

2. l suffer no legal disabilities and have personal knowledge-of the
facts set forth.
3. l am the parent of Zane Fishbein, a cadet at Valley Forge Military

Academy (VFMA] for his senior year of high school.

4. On 8 March 2018, Valley Forge Military Academy and College
(VFMAC) selected Major Generai Walter Lord to be its new
President.

5. On or about 16 April 2018 Zane Fishbein was informed that he
had been selected for admission to VFMA with a Salute to
Veteran's Grant Scholarship.

6. The total family cost for Zane to attend VFMA was $22,875
payable in full before the academic year commenced

7. Zane entered the Academy in August, 2018 as a plebe.

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Zane was promoted to the status of cadet 22 September 2019.

On March 7th 2019, Major General Walter Lord, tended his
resignation as President to the VFMAC Board Chairman Iohn
English, citing a “philosophical disagreement" with the Chairman.

On 9th March 2019, the Chairman issued a statement on behalf of
the Board of Trustees stating “The board regretfully accepted his
resignation and has committed to working with him to achieve an
orderly transition, with both parties acting on what’s best for the
institution we both love, honor, and respect...."

Major General Lord becomes the third President to leave the post
in four years.

VFMAC is a 9`1-year-old school working to recover from a
troubled decade during Which enrollment declined and officials
struggled with dwindling finances, layoffs, and allegations of
hazing and sexual assault by students.

On 10 March 2019, Major Generai Lord was immediately relieved
of his duties.

On or about 10 March 2019 Major Generai iessica Wright, the
Board Vice Chair, and Roque Schipilliti, the Alumni Association
Representative to the Board of Trustees, resigned from the Board.

ln her resignation letter, Major General Wright brought to light
the issues for the President’s departure which included the
Board's apathetic attitude, lack of governance, and intense
micrornanagement of the President.

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16. During the week following the President’s departure both the
parents of the enrolled cadets and the alumni expressed
overwhelming support for Major General Lord and job he has
done to create a supportive family atmosphere at VFMAC. Major
Generai Wright stated that Lord's Presidency was “highlighted by
great decisions and successes, as well as representation of the
school with exceptional bearing, decorum, professionalism and
honor.”

17. On 16 March 2019 a VFMAC Alumni Meeting was held. Eight
Board of Trustees (BO'I`) members were in attendance Over one
hundred parents and alumni attended to voice support for Major
General Lord and press for his reinstatement B()'I` Members in
attendance all expressed their positive impression of Lord’s
performance in the role of President. A statement by General Lord
was read at the meeting and it expressed his willingness to return
to the Presidency of VFMAC under the condition that the
Chairman step down. OWing to the overwhelming support for the
Major General from both Alumni and parents, the BOT members
promised to call an emergency meeting to discuss.the issue.

v18. An informal polling of parents indicate that at least 75 would
withdraw their students from VFMAC if President Lord does not
resume his duties as President of VFMAC.

19. VFMA had an enrollment of 201 students as of the 2017-18 school
year, which has fallen 40% since 2013.

In conclusion, I contend that Major Generai Lord was set up to fail by the
Board Chairman and that the Board Chairman has created conditions at
VFMAC that will surely lead to its closure. The school’s precarious financial
situation (it has operated in the red for at least 15 years) is indicative of poor
leadership at the Board level, irresponsible management an absence of

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transparency with the VFMAC community, and a total lack of accountability to
anyone. Conditions have been created that did not exist at the beginning
of the school year and l would certainly not have paid $22,875 in tuition
and placed the responsibility of my child's education in the hands of a
Board of Trustees that has acted irresponsibly. They have garnered my
trust under false pretenses. The recently released Comp rehensive
Assessment for Valley Forge Military Academy and College, commissioned by
the Healey Educational Foundation, supports my contention that the VFMAC
Board of Trustees has not acted in good faith, made management decisions
that demonstrate irresponsible custodial oversight, and fail to practice
fiduciary responsibility

By undermining President Lord, the Board of Trustees has undermined
the environment at VFMAC and creating conditions that are detrimental
to my son’s education and ability to graduation from a school that will

have a lasting legacy.

l declare that, to the best of my knowledge and belief, the information herein
is true, correct, and complete

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Executed this 21 day of ll lll cch 2019. ji%%#~
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OTARY ACKNOWLEDGEMENT

 

STATE OF PENNSYLVAN!A, CGUNTY OF MONTGOMERY, SS:

Notary Public M
Commonwea|ih of Pennsylvania - Nolary Seal

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ride and (Rank) 3500 C b Nl dwin €K "‘ ‘&Z§lg@'£?r§`t'§uh'fp °“

My commission expires May 16. 2022

 

 

Commisslon number1332615

My commission expires m a\/ 1b l Mgl 9\ Mem».r.pennsylvanssssoaai°nemma

 

 

 

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March 21, 2019

SBFC&T, P.C.

Atten: Leno P. Thomas, Esq.
317 Swede Street
Norristown PA, 19401

Dear l\/lr. Thomas,

This letter is written with the intent of reinstating lle Walt Lord as president of Valley Forge
Military Academy and College (VFl\/lAC). l\/ly son E.\/. is a 14 year old student in the eighth
grade at VFMAC.

One of the major deciding factors for my son to attend VFMAC was the leadership and vision
demonstrated by l\/lG Lord. His commitment to the school and the students was clear and
unwavering. Throughout this year, he has shown that his actions back up all of his talk. He has
been present for the students, energized (and recruited new) stafi, re~engaged the alumni and
shown true care and concern for the Welfare of the cadets.

Personally, he has served as a strong role model for my son, showing up for him in the ways
that my son needed to grow l consistently shared that through MG l.ord’s strong leadership,
underpinned by compassion, he was changing lives and the traje'cton/ of the cadets For this, l
am forever grateful and even spoke with my family’s foundation about making a granite the

, school. VVe have mobilized the money, however l will not make this grant unless l\/lG Lord is
reinstated

l\/ly son has been through several changes and l was thrilled that he finally found a home at
VFMAC. However, liear that l\/lG Lord’s forced departure will disrupt the foundation that he
built, For this reason, we most likely will not return to VFMAC next year if lVlG Lord is not
reinstated Further, given the behavior of the Board of Trustees - especially with the
unprofessional and unethical letter released today attacking l\/lG Lord With false history ~ l would
not trust that my son would receive an education based on honest and ethical behavior under
the board’s current leadership Accordlngly, l will not submitmv deposit or any further funds to
the school until l\/lG Lord is reinstated

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March 21, 2019

Parent: Kimberly Graham

Cadet: Malcolm A. Graham, grade 9, Band
46 Cheney Ave.

Peterborough NH

03458

r1`0 Whom lt May Concern:

I am writing to express my disappointment with the current situation at Valley
Forge Military Academy.

My son was accepted into VFMAC on March 6fh, 2018 and we decided to move
forward with his education at this school even though we had some reservations
specifically regarding the high turnover rate of past presidents With the
announcement of Major General Lord taking over as President on March 8, 2018, we
were assured that this new leader had the passion and vision to move VFMAC into a
position of a leading military based high school.

The positive change in our son since the fall is a direct retlection on the good Worl<
that MG Lord has done in such a short time. Our son also has stated he has seen
positive changes in the school on many levels since the beginning of the school year.

To continue to have our son enrolled in this school without MG Lord as president
and with a Board of Trustees who We feel are not working for the betterment of the
school or the cadets, would be irresponsible as parents

To this date, we have not paid our deposits for next year and our son has not chosen
his courses for next year. We will not be continuing at VFMAC in the fall of 2019
without the correct leader of the school in place And that leader is MG Lord.

Respectfully suhmitted,

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Kirnberly raham

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Amy Howe
2685 Anqua Court
Sparl<s, NV 89434
(775) 287~4950
amy‘howe@sbcglobal.net

SBFC&T, P.C.

A”l'i“N: Leno P. Thornas, Esq.
317 Swede Street
Nori"lstown, PA 19401

March 23, 2019

Personal Affidavit of Amy Howe

RE: Leadership of i\/lajor Generai Walt Lord at Valley Forge Military Academy and College
(vFMAc)

To Whom lt May Concern:

l\/ly son is Nicholas Howe. l-le is currently a 19 year old college freshman at VFMAC. Nicholas
chose to attend VFMAC as a "self-prepster” for the US Air Force Academy after not receiving an
appointment after his senior year of high school. To give a little background about Nico and his
circumstances, he had a 4.5 GPA, a 34 ACT score, and a 1470 SAT score as well as three
congressional nominations to the USAFA when he sadly did not receive an appointment out of
high school. He had presidential scholarships to both the University of Nevada, Reno and to the
Colorado School of l\/lines as his ”Plan B". Al'ter the devastation of not getting in to the USAFA,
he strengthened his resolve to pursue his dream and began looking into military schools to prep
and up his chances to reapply - deciding to forgo his scholarships to these other prestigious
schools. We learned that his academies and CFA scores were too high for him to be considered
to be a sponsored prepster, so he would have to go it alone. We spoke to representatives at
Mlvll, Nl\/lMl, and VFMAC. We were heavily cautioned against VFMAC by the other military
schools due to their reputation for being ”run by civilians", having no buy in to the military
culture, and having fallen out of favor by the service academies. However, Nico made a strong
connection with the baseball coach at VFMAC, was enamored with the history of the school,
and decided he would give it a shot. One week before it was time to report to VFMAC, Coach
Davls accepted a position at College of the Sciences and Nico was again devastated. On top ot
all of this, the one thing we kept hearing over and over was that "VFMAC doesn’t get cadets like
Nicholas”. His one connection at a school he had never even set foot on was going to be gone.

Enter l\/lG Walt Lord,

My husband and Nico went to VFMAC for orientation and went straight the lviG Lord to express
their concerns about his situation, lack of a baseball coach, the reputation of the school, and
Nico’s goals MG Lord's vision and passion for the school was evident and he put their fears to

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rest l will be perfectly honest m Nico has had several experiences at VFMAC that have been
systemic failures of epic proportions We cannot get people who have worked at this institution
for many years to respond to an email, the baseball coach has STiLL not been replaced (since
August) and Nioo had to appeal a grade he was given due to the teacher not following her own
syllabus, and was denied the appeal by a dean who resigned immediately after his denial and
who l have since heard has had multiple ethics violations against him. This grade may very well
cost him a US/~\FA appointment this yeah (|ncidentaliy, he again has two Congressional
nominations and we are waiting to hear.) Throughout all of this turmoil, we have had to go
above peoples heads to i\/lG Lord who responds immediateiy, gets us answers and responses
from others, helps to resolve issues and goes above and beyond to help Nico on his journey. He
has made a connection with Nico throughout his leadership journey on the military side and
gotten to know him enough to write him an exceptional letter of recommendation for the
USAFA. lle Lord was making strides to lead the faculty and staff to begin to see the cadets at
the academy and college as more than the “low achievers" that l believe they all see them as -
as that is how they viewed Nico and treated him as such even though that was far from the
truth. it was clear from the very beginning that VFMAC has a culture problem ~ and l\/lG Walt
Lord was definitely the man to fix it. l~le was beginning to make strides but it was painfully
obvious that he was hitting road blocks at every turn. lt is my personal belief that the BOT has
no interest in changing the current culture of the school and that is gravely concerning

lfwe had known half of what we know now, |’m not sure we would have sent Nico to VFMAC.
The one thing we are all grateful for is meeting and the connection he has made with Generai
Lord and his fellow cadets. The deception and rot within the BOT that l have witnessed from
across the country is appalling. l cannot understand how anyone would want to continue in
their position knowing the strife they are causing families and children unless it is somehow for
their own personal gain. As an educator and as a human being, l am disgusted.

if Nico does not receive an appointment to the USAFA, he is looking at other options for next
year as long as i\/lG Lord is not at VFMAC next year. There is no way we would even consider
spending money on a school as corru t as Valley Forge if that does not change

SWG@ Og Nc\)u a
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north wildwood Nios~zso' ;

-~ Leno,Thomas Esq.
1317 swede sr.

Norristown, PA 19401

"i'i\’/largare`t l-lowlett, am the parent of a first year cadet who is a freshman at’Valley`,Forge`\Mil'ita
Academy and College m Wayne, PA le son, Sgt. Tyler Shepherd, lives in i-iocl<er Hall l-ie hats a
fo Academic Excellence,' is a platoon leader,' is an active member of the Color Guard ls a Com'
nd` is a member of the VFMAC Rifie Club

intend to re-enroll my son Tyler Shepherd in VFMAC for`his Z"d year of high`is`chool inthe fall

 

l\/lajor General Lord has made a huge impact on my son's life, education and ability to make goals

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and decisions regarding his goal to enter West Point. l\/|y son met With him on several occasions to
unofficially discuss some challenges he Was experiencing l\/ly son reported that Lord provided him
With sound advice and made him feel part of a team. l-le is the breath of fresh air that VFl\/IAC
needs. Walt is a great leader based on his ability to inspire and motivate cadets and parents He
also Works as a team together With the parents, Who are paying tuition. He involves not only
parents, but alumni, in VFl\/|AC events. His vision to create a family, gives cadets a sense of
belonging, accountability, and responsibility Our cadets admire him for engaging With all family
members and for being available at all times. He does not have ulterior or secret motives that
Would cause him personal gain, financially or increase his credentials And |ast|y, I entrusted Lord
and his Wife Grace With the one thing that is most precious to met my son.

Thanl< you l\/largie

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3/20/19

To Whom lt May Concern:

We are the parents of two Valley Forge Military Academy (\/FMA) Sophomores, and we are residents of

the State of Pennsylvania. We enrolled our Cadets, T. Nlichael Ha|| and C. Maxweii Ha|l in this institution
because we wanted to instill a sense of Respect, Duty, Honor, and $elf Reliance in our boys. Walter Lord
represents all these Characteristics, and we fully share his vision for the school going forward. He made

amazing changes in the school in a very short time.

We are very disheartened that Walter Lord and his vision of how the school should be brought back to
its Military History have been discarded l~ie and his wife have been a huge asset to VFMA and we can't
afford to lose their ieadershlp,

if Walter Lord is still at VFMA as President we fully expect to enroll both our Cadets for the coming
school year. However, if Walter Lord does not return our Cadets will not be returning for another year
that this institution.

 

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My Commisslon Expires May lO, 2020

 

 

 

 

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arch 24,2015"` '_ y 4
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S.livlS) The school announced in Feb they would be " '
kend to help cadets and parents find optionsfor next
from most of the schools, We_ had the great pleasure

g de §adei: at St John’ s Military School (

n l iiitary schools in general l-le shared 1 »
' est 10+ years (and 2 3 presidents), a $1. 7rniil_ion
d_ been reluctant to participate and

`Artute those traditions and how
MG Lord's character, a parent asked __ '

 

 

 

 

 

 

 

 

 

 

 

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+_ years it has lost much

__ ou'_` he current state of VFMAC. How over the past 10
re read the BOT's Bylaws and was shocked at their insular ha __ _
arent_s, alumni or anyone save themselves l saw the following Saturday's ~

at FMAC_ with BQT members l heard one BQT ‘ _

_u_l_dn' tdiscu_ss confidential information and the __ _ _ _
’test'_ results in detail (l don'_t know if that violated any laws, but it

b ) .l learned about the report submitted to '
e heard of questionable financial

 

 

 

 

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DECLARATION OF MICHAEL D. and SUSAN K. MISCOE
STATE OF PENNSYLVANIA ]

COUNTY OF SOMERSET )

Michael D. and Susan K. Miscoe, make the following declaration under oath regarding

the following facts, which are within our personal knowledge

1. Our names are Michael D. Miscoe and Susan K. Miscoe. Our address is 1032 Peninsula
Drive, Central City, PA 15926 and each of us are over the age of eighteen \

Z. We are the parents of Garrett M, Miscoe, who is fifteen years old and a ninth~grade student at
Valley Forge Military Academy (“VFMA").

3. We were sold on Valley Forge Military Academy because of its alleged focus, using a military
model, on structure and discipline as a means of “developing boys into young men of character."
After meeting MG Lord, and addressing concerns we had based on reviews from prior
Students/parents, we became convinced that he was the right individual to ensure that VFMA

would deliver on its promise

4. Early into our son's attendance at VFMA and after completion of plebe training, our son was
assaulted in the barracks, items of personal property were stolen, and his phone was broken
purposefully by another cadet. The apparent lack of discipline based on these events was
raised with the TAC team. MG Lord took a personal interest and made the effort to address
what was being done to correct these issues throughout the school. MG Lord convinced us
that he was hard at work to change the environment at VFMA and restore discipline so that
the experience we were promised for our son was delivered

5. In subsequent meetings with MG Lord, we became further convinced that under his
leadership, VFMA would continue to change for the better.

6\ Based on our interactions with MG Lord, it is our belief that MG Lord would not have
resigned absent recognition that he would not be permitted to accomplish the task for
which he was hired.

7. The Board of Trustees has been less than transparent in its communications to parents
regarding the issues between itself and MG Lord that precipitated MG Lord's decision to

resign.

 

 

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Declaration of Michael D. l\/liscoe and Susan K. Miscoe
PageZon

8. The Board of Trustees’ apparent refusal to address the issues precipitating MG Lord's
decision to resign has convinced us that there will be no real change at VFMA and that as a
result, VFMA will not provide the promised structure and discipline as a means of
"developing boys into young men of character.”

9. Absent MG Lord's continued service as President of VFl\/lA and a Board of Trustees willing to
empower him to achieve his vision for VFMA, we have no confidence that VFMA Will ever
provide the environment and educational experience that was the singular condition
precedent to our decision to enroll our son Garrett at VFMA.

10. Because of MG Lord's (effective) termination, we have no confidence that the level of
discipline at VFMA will improvel The individuals currently sharing the duties as President
have no doubt learned that they have no authority to cause meaningful change.

11. We are aware that many other parents of both existing students and at least one incoming
student (who we personally know] have similar concerns and have either decided to
withdraw their sons from VFMA, have not selected academic courses or paid deposits for
the upcoming school year or have decided to not send their Son to VFMA.

12. Similarly, we have significant concerns as to whether the school will ever be able to deliver
on its promise or even if it will be able to financially continue operation. For this reason, we
have decided not to enroll our son at VFMA for the coming school year.

We certify under penalty of perjury under the laws of the Commonwealth of Pennsylvania
that the foregoing is true and correct. `

interim ibid act

 

Michael D. Miscoe S san K\ l\/liscoe
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DATE DATE

 

 

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Affidavit

My name is Kristin Moore, and 'my son_, Parker Moore is a l6-year-old_, ll“‘ grade cadet
at Valley Forge Military Academy and College. My husband, and two other children reside in
New Jersey.

We enrolled Parker in Valley Forge because of the philosophy and approach to shaping
young men into leaders, in a tightly structured environment We believed in the mission of
Valley Forge, as well as their Vision and five cornerstones of development We felt it was 'I`HE
best opportunity for Parker. ln addition, We were more than impressed with General Walt Lord
and what he was bringing to the institution lf not for Walt Lord, we would not have made the
difiicult decision to entrust Valley Forge with our son

Therefore, we will not re-enroll, submit any course selections, NOR make any tuition
payment to Valley Forge Military Academy unless Walt Lord is reinstated as President of
VFMAC.

Regards,

~i<u/daic lt@p'om,

Kristin Moore

 

 

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AF-FlDAVlT

My name is Scott Keith Newel|. l am the father o`f Valley Forge Military Academy (VFMA‘) freshman (9m

grade_) cadet:Aidaan. Newel|l aged 15 years. We are residents of South Carolina.

As a‘1988,.Alumnus of the school, l arn intimately familiar with the product Valley Forge could again be,
despite several years of the way the Board of Trustees has been operating the school. W_e enrolled
Aidan at VFMA» because of the ch'aracter, demonstrated leadership and vision for VFMAof i\/lajor
Generai Walt Lord, We believed l\/|G Lord has demonstrated the talent needed to return 'VFMA to the
product we w,ant, and the product We Were told it would`be. That vision h'a_'s now been acutely changed
becauseof the actions of a'clear|yiunstable Board 'Qf Trustees, specifically Chairman J.ohn English. in

essence, l was sold a product and that product was switched to pan unacceptable alternative

We fullylntend to re_~enroll ourso'n annually for the next three years until his graduation from VFMA.
However, | will not reeenroll my son, nor select academic courses, nor pay any deposit or tuition until
Board of Trustees Chairman .lohn ,Engli_sh resigns or is removed from the Board and Major Generai Walt

Lord is extended an invitation by a stabilized, reconstituted Board to return as President of VFMA&C.

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FatherofCadetAidan Newell ' " "

Columt_i_ia, South Caro'lin_a

 

 

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Mark Oskowiak

3040 David Drive, Abington, PA 19001
267-474~6588
’i`heSkos@verizon.net
3/22/19

To whom it may concern,

Our son Kevin Oskowiak is a l 5 year old Cadet in 9“* grade at VFMAC.

We adopted our son from foster care when he was 3 years old. Our son has struggled with the abuses he experienced as
a child. We were his fourth home in 3 years and he has had trouble accepting us as his authority figures thus has not
respecting our rules. Our son is an amazing, resilient young man that has so much potential, but he is lost within
himself He has been diagnosed and treated for ADHD. i\/iy wife and l realized that we have a small window of
opportunity left to be able to help Kevin become a successl"ul, happy man with good moral character.

We decided that military school may afford him this opportunity to make the changes necessaryl Although we are in
the back yard of VFMAC we decided to enroll Kevin in Carson hong Military Academy. We did not send him to
Vl\/lAC originally because we were aware of the many issues the Academy has experiences in recent years. We came to
VFMAC when they invited the Carson Long Cadets to attend once that school closed We were skeptical coming to
open house because of the tarnishcd reputation

We were so impressed with l\/lajor Generai Walt Lord. l'le had an infectious enthusiasm that was hard to ignore He
was so transparent with any question presented to him and we completely bought into his “school on the rise” vision,
After speaking with him at open house we decided on enrolling Kevin in the core of cadets. We knew coming into it
that things would not bc perfect, but we knew many positive changes were ahead. Walt Lord did not disappoint. He
was visible, transparent, and acknowledged when there were issues and invited parents to speak to him about them.
Big, positive changes were happeningl Walt was everywhere promoting the school and his mission He got many
people back on the band wagon and was starting to polish the tarnish on the schools reputation We were exited and
knew amazing things were happening

When he resigned as President all hope was lost. Walt Lord was the reason the changes were occurring with the
School. The fact the BOT allowed this to happen is an example of every reason we didn’t look at VFMAC in the first
place Without Walt Lord we will not be back! We have already applied to Camden Military Academy and will be
looking into Fishburne Military Academy as well. 'l`his is really unfortunate But our son has been thru a lot in his life
and we need to put him in a solid institution to help direct his course

li` Major Generai Walt Lord is not reinstated The Oskowiak Family will not be returning to VFMAC. We also

withdrew our deposit for summer camps as well.
Commonwealih of Pennsylvania

 

Hoping for change, Nolariaiseal

_ HELEN ADAMS ~ Nolary Public
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My Commission Explres Apr 7. 2021

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Commonwealth of Pennsylvania Affidavit

County of gte l/id$

l\/ly current legal name is Kathleen l\/lcCal| Readinger, and my current occupation is Registered nurse and
parent of Cadet Aidan i\/l. Readinger, VFl\/IAC, and Class of 2022. lam presently 57 years old, and my
current address is 2901 Park Place, Reading, PA 19609.

l\/lG and Grace Lord have been the glue that binds the Corp of Cadets at VFMAC. l have had several
personal conversations with both for the betterment of my cadet’s experience lV|G Lord has
demonstrated beyond a shadow of a doubt his commitment to the Cornerstones VFMAC was built on.
The very reason l sent Cadet Readinger to VFl\/|AC in the fall of 2018.

l was amazed at the respect the cadets showed for NlG and Grace Lord, nothing like l anticipated when
enrolling Cadet Readinger. Professiona|ism, decorum, and leadership are how l\/lG and Grace Lord
conduct themselves in every VFMAC function they are charged with.

l fully anticipate that VFMAC will continue to function, however without the heart of that institution.
What a tragedy for VFMAC to have had the perfect fit in a leadership role and to have discarded it with
contempt. l invested my hard earned dollars in a program where Cadet Readinger would be given the
necessary tools for a manhood based on; academic excellence, integrity, honesty, service, teamwork,
organizational pride, setting/achieving personal goals, lifelong physical we|lness and finally leadership. l
cannot foresee those tools being disseminated by the men and women responsible forthe decision
making process at VFMAC.

l am currently withholding my final tuition payment, my rra-registration payment Cadet Aidan
Readinger's course selection for 2019-2020 and seeking copies of Cadet Aidan Readinger's transcripts
for transfer to another military academy for 2019-2020 school yea r.

l hereby state that the information above is true to the best of my knowledge. l confirm that the
information here is both accurate and complete, and relevant information has not been omitted.

ga mr aaa
\;ZZ/Aw/r

Notary Public
MA/W__ U%MVM/ COMMONWEALTH OF PENNSYLVANIA,

NOTARIALSEAL
NancyL. Wagner, Notary Public
KenhorstBoro, Berks County
My Commission Explres Nov. 29 2020

     
     
     

 

Title and Rank

 

Date Commission Expires

 

 

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Keith & Sylvia Reihl
950 Minisink Way
Westfield, NJ 07090

Board of Trustees

Valley Forge Military Academy & College
1001 Eagle Road

Wayne, PA 19087-3695 c
March 21, 2019
To Board of Trustees:

l am writing in connection with the recent turmoil regarding the resignation/termination of i\/IG
Lord and the apparent change in direction of VFMAC away from a Military influence. Our son is
cadet lohn Reihl, in 8‘“ grade, living at Hooker Hall. l lived in Wayne as a teenager back in 1970
and was very familiar with the school. People in the neighborhood were always impressed
when they came across cadets in town or at the mall. The cadets were always well dressed and
extremely polite. To this day, that continues.

lt is important that you understand that the only reason our son is at VFMAC is because of the
military influence He is a bright child with a great heart but needed the additional discipline
that only a military school environment could provide Knowing that bad behavior, keeping a
messy room or not doing his homework would have an adverse impact on him. i\/|uch stronger
than a public school but nothing over the top. lust enough to get them to modify their
behavior, in this regard, we have seen a very positive change in our son, as have our family
members.

MG Lord has been a very positive influence at VFMAC. l hear this from every parent that l talk
with and many of the alumni. if you lose him and move forward with this apparent plan to
broaden the student enrollment by eliminating the military influence you will jeopardize the
entire institution. You will not be able to compete; your academic program is not good enough
to compete as it stands today. i\/iore important|y, you will jeopardize the position as a good
military influenced school that you have earned over nearly 100 years. l am not alone in
thinking about moving my son to another school if you proceed The person that has the
greatest day to day influence on the school and the kids that attend is N|G Lord, not lohn
English! The Board needs to back off and stop micromanaging NIG Lord. Go back to your day
jobs and let lV|G Lord run the school.

Very truly yours,

n

item akin

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AFFlDAVIT

County of __Burlington County §

 

 

State of _New Jersey §

l
Before ine, the undersigned authority, on this day personally appeats__ Francis B R_eynolds, 3237
Wenonah Avenue, Mantua, New Jersey, 08051, known to rne to be the person whose name is
subscribed to the following instrument, and having been duly sworn, upon his/her oath, states as

follows:

I reside at 2317 Wenon_ah Avenue, M_antua, New ]ersey 08051

 

 

My son Ca1l I Reynolds, attends the Valley Forge Military Academy,

 

Class of 2020. . 1

 

If Maj or Gene1 al Walter T. Lord 1s not immediately reinstated at the§

 

President of the Acadeiny, I will not ieenroll my son in the school

 

next year.

1 FA)U C/ 5 %(`> l\‘-Z;`>N©C&S have read the foregoing statement consisting of l __pages 1
fully understand the contents of the statement and certify that the statement 1`s a factual accodnt. I
have initialed all corrections and have initialed the bottom of each page containing the statement I

have made this statement freely without hope of bene 1t or r " ard, without threat of punishinent,

     
 

`_ent.

 

Subscribed and sworn before me
this nail day of “n\ctml\ ,201_¢7_ at

111 near g. /(‘atee'~'iti~

Mary l( Talbott §
Notary Plii)iic` oi New Jersey §
iviy Cummissitm expires July J»¢>l°i ~

 

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Page l of ll pages § Afnam’sinitia`ls ring ii

 

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l am Casey William Roe of 657 Golden Eag|e Way, Lancaster, Pennsylvania 17601. l am father of
Christopher Wi|liam Roe, 15, a current 9"‘ cadet in attendance at Valley Forge Military Academy
(VF|V|A).

i\/|y son is in his second year on campus and, while the structure provided at the school was a
great step up from public school, it was truly lacking for what we expected as a military school.
When MG Lord took over as president towards the end of last school year, it was like someone
finally breathed life into the school. He was energetic, driven, and enthusiastic, and his attitude
was contagious. We could see his influence at every turn, from the TAC officers, to the
teachers, to the cadets. We know, MG Lord was turning this school around and Was making a
huge difference in just the 10 months he was there.

This school has had 2 presidents resign in the 19 months my son has attended VFMA. This
change is not good for anyone and it makes me wonder why the resignations keep coming?'
MG Lord was good for this school and he was making change l feel like, without his leadership,
this school will continue to decline.

i will not reenro|l my son nor pay any deposits until MG Lord is reinstated as president of
VFMAC.

 
   
 

Casey Wi||iam Roe n

Commonwealth of Pennsylvania

County of _L_L_¢_la_¢_¢'_b__`f`:£__

Sworn to and subscribed before me

20 /‘Z

this B_i_ day of 7

' th cf Penns ivanla - No`lary Seal
Comm?;vr:\?rliic Dusei. i\i,otary Fublic
LancasterCounty
My commission expires December4, 2022
Commission number 1237301

 

 

 

 

 

 

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ac

1001 E/-\GLE ROAD, V\/AYNE PA 19087

 

To whom this may concern;

l am writing this letter about my son, Gregory Sacchetti, age 17 a junior at VFMAC, out home
address is 30 Cabot Court, i\/ledia Pa ’“|9062. l am writing because of the dismissal of l\JlG Lord
and the way the situation has been handled l\/lG Lord is the ONLY reason my son attended this
year at VF,l\/iAC, the only reason!lil The school does not follow military standards and is known
in the community as not a great place to send you child. Our family came from Carson~l_ong,
which has closed its doors in the spring of 2018. l researched many military schools and l was
actually going to send my son to i~`ishburne. l came to \/F open house and met l\/lG Lord, during
our conversion l became convinced he was the right person to lead this school and that the
school would completely turn around and REALLY become the "School on the rise”. l believed
his vision cf what the school could become Sadly, l will not be returning next year if l\/lG Lord is
not reinstated l have no confidence in the current BOT and their micro-managing and
interfering styie. The BDT must'change and l\/lG Lord reinstated, it this does not happen my son
will he attending Fishbourne Academy in the fall.

SlNC EL,Y,

maj tth

.PATRlClA SACCHETT|

  

SHERRE|CE WYBlNOW
My Commisslon Ex`plres
June 8, 2021

    
   
 

 

 

 

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Suzanne L. Zigo, Ed.D

546 Lincoln Road 1
Pilesgrove, N] 08098

856-305~7904 (c€ll)

856-769»1761 (business)

Parent of Ryan P. Zigo
Age 15 l
First Year Freshman Student at Valley Forge Military Academy Class efiozz

To Whom it may concetn,

I enrolled my son at the Valley Forge Military Academy 111 Iune of 2018 With
certain expectations Among those expectations Was that my son Would receive
a top~notch military education With a high level of discipline as Well as academic
rigor. ’lhe school’s motto is #school on the rise I believe in thi§ message and
With that in mind l intend to enroll my son to attend the next three years .` l Will
not however, do so if the leader Who initiated the positive chan§e; does not
return Major Generai Walt Lord has been a much needed cordrnandin§

 

presence Who has had tremendous success in reinvigotating this academy l
stand With Majoz‘ Generai Walt Lord. He has, in a very short period of time
hreathed new life 111 this school ’Ihe events leading up to Major Generai :Lot'd s
resignation indicate a difference of philosophies With the Board ofTrustees
Until the Board of'l`rustees is able to stabilize the revolving door ofpres1dents at
the academyl Will not re enroll my son § ‘

 

Since rely,

 
    

 

W DDiNGTON
Notary Pz§io of New J_ersey

 

 

 

Suzanne Zigo, Ed.D commit s on #50097`.'0@3 ‘\ _f_

 

 

 

Niy Commission Expires dan 16, 2024

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EXH|B|T H

 

 

3/26/2019 CB.S€PZU@_'W_[\M§ imr_‘f§e ansparency let Generai Lord lead Valley Forge as he sees tit ~ unange.oig
' Ocument 1 '
Filed 04/01/19 P ge 111 0

VFMAC BoT: increase transparency let enerh]llliord
lead Valley Forge as he Sees fit

  
  

2,485 have signed Let’s get to 5,00()\.

Sanilor Farkas started this petition to VFMAC Board of Trustees

_'l_’____~____._.,~»----'

Generai Walt Lord has Subniitted a letter of resignation as President of VFMAC because of a, "Philosophical
disagreement With the Board Chairman l’ve tried to Work through it for the past lO months, but it’S become untenable."

ln order to save our school, We, the alumni, demand that the Board of Trustees increase transparency over What has
transpired and all future operations Furthermore, We ask that the BOT resolve its differences With Generai Walt Lord in
his favor So he can return to his post as President of VFMAC.

Please refrain from any type of threatening language or behavior, as it is Wrong and counterproductive

§change.org/p/vfmao-bot-increase-transparency-let-generel-lord-lead-valley-forge~as-he-sees-iii 1

